Case 1:11-cv-00691-LAK-RWL Document 2172 Filed 03/05/19 Page 1 of 49

 

 

 

 

 

 

USDC SDNY
DOCUMENT
UNITED STATES DISTRICT COURT ELECTR \ :
SOUTHERN DISTRICT OF NEW YORK ONICALLY FILED
wo eee eee x VDOC# —_
a
CHEVRON CORPORATION, 4! DATE FILED: 3/5) AoA
a re
Plaintiff,
~against- 1i-cv-0691 (LAK)
STEVEN DONZIGER, et al.,
Defendants.
ee x

FORENSIC INSPECTION PROTOCOL
LEWIS A. KAPLAN, District Judge.

1. Appointment of a Neutral Forensic Expert: By order of March 5, 2019, the Court has appointed
a Neutral Forensic Expert for the purposes of this Forensic Inspection Protocol. The Neutral
Forensic Expert shall send his invoices to both parties and Chevron initially will bear the cost of the
Neutral Forensic Expert’s work as described herein, without prejudice to Chevron’s right to seek
reimbursement of said costs in these proceedings or otherwise.

2. Chevron’s Designation of Its Forensic Expert: Chevron has designated as its computer forensic
expert for the purposes of this protocol Spencer Lynch of Stroz Friedberg (“Chevron’s Forensic
Expert”).

3, Confidentiality/Protective Order: Before any work on this matter is undertaken, including but
not limited to any search, collection, or other analysis, all agents and representatives of both the
Neutral and Chevron’s Forensic Expert who will work on this matter will sign the Certification
required by the Protective Order entered in this matter on January 11, 2013 (“Protective Order”), if
not previously executed. To that end, all information recetved or located by either the Neutral or
Chevron’s Forensic Expert shall be treated as confidential except as otherwise provided in this
Protocol and shall not be disclosed to anyone except in compliance with the Protective Order and
this Protocol. Once materials are produced to Chevron, they shali no longer be treated as
confidential unless so designated as provided in Paragraph 8(a).

4. Donziger Identification of His Devices and Media: Within three (3) business days of entry of
this Protocol, defendant Steven Donziger (“Donziger”) shall provide to both the Neutral and
Chevron’s Forensic Experts via email a representation listing under penalty of perjury all devices he
has used to access or store information or for communication since March 4, 2012 — including, but

 
Case 1:11-cv-00691-LAK-RWL Document 2172 Filed 03/05/19 Page 2 of 49

not limited to, personal computers, tablets, phones, and external storage devices, such as external
hard drives and thumb drives — (the “Devices”), indicating for each of the Devices whether he has
possession, custody, or control of the Devices and, if not, stating the reasons why that is so, i.e.,
whether they were destroyed, lost, etc. and the present location of the Devices. Additionally,
Donziger shall produce under penalty of perjury a list of all accounts — including, but not limited to,
email accounts (including web-based email accounts); accounts (including web- or cloud-based)
related to any document management services, such as Dropbox; and accounts related to any
messaging services, such as WhatsApp, Facebook Messenger, instant messages, etc. -—Donziger has
used since March 4, 2012 (the “Media”), indicating whether he presently has the ability to access
those accounts and, if not, stating the reasons why that is so. At this time, prior discovery has
revealed that Donziger used the following types of accounts to conduct business related to the
Ecuadorian judgment:

a) Email addresses, including, but not limited to, sdonziger@donzigerandassociates.com,
stevenrdonziger@gmail.com, steven.donziger@donfordcapital.com, and
gringograndote@gmail.com;

b) A Dropbox account; and
c) A WhatsApp account.

5. Imaging of Donziger’s Devices and Media by the Neutral Forensic Expert: The Neutral
Forensic Expert shall take possession of Donziger’s Devices and have access to his Media for the
purposes of making a mirror image of those Devices and Media. The Devices shall be surrendered
to the Neutral Forensic Expert at Donziger’s address at 245 West 104th Street, #7D, New York, NY
10025. The Neutrai Forensic Expert shall take possession, custody, and control of the Devices and
transport them directly to its offices for the imaging described herein. The devices shall be
surrendered to the Neutral Forensic Expert at 12:00 pm at 245 West 104th Street, #7D, New York,
NY 10025 on March 18, 2019. At no time shall Chevron’s Forensic Expert have access to the
original Devices or to live Media accounts absent further Court order.

a) On the date and time specified per the above, Donziger shall turn over all Devices in his
possession, custody, or control to the Neutral Forensic Expert. Additionally, to the extent
information contained in any of Donziger’s accounts/media is not stored on any of
Donziger’s available Devices, Donziger shall provide the Neutral Forensic Expert with
the information and/or things necessary to access and image his accounts and media. The
Devices shall be returned to Donziger without unnecessary delay after the completion of
the imaging required herein by the Neutral Forensic Expert.

b) If any usernames, passwords, or other information is required to access any of the
electronically stored information on any of the produced Devices or Media, Donziger
shall provide such usernames, passwords, and other information to the Neutral Forensic
Expert at the time of the imaging. Such information shall be kept strictly confidential by
the Neutral Forensic Expert.

 

 

 
Case 1:11-cv-00691-LAK-RWL Document 2172 Filed 03/05/19 Page 3 of 49

¢) Before beginning any work on the Devices and Media, the Neutral Forensic Expert will
utilize a hardware write block device on the Devices and Media in order to protect the
integrity of the existing data (or other techniques standard in the industry to protect the
integrity of data).

d) The Neutral Forensic Expert will create full forensic images of each Device and
Media/Account. The forensic images of each shall include, to the extent possible,
allocated, unallocated, and host protected areas, As part of the creation of the forensic
images, the Neutral Forensic Expert will record on a log, where applicable: (1) the date
and time at which the Device or Media was provided for forensic imaging and the date
and time at which the Device or Media was imaged; (2) the time set in the BIOS or
system clock at the time of imaging; (3) the “boot order” recorded in the BIOS of the
Device or Media at the time of imaging; (4) the make, model, and serial number of the
Device; (5) the username associated with any Media; (6) any identifying marks or labels
on any Device or Media; (7) the tool and/or method used to create the forensic images;
and (8) MDS and SHA1 hash values of the data collected from the Device or Media,

e) Upon completion of the imaging, the Neutral Forensic Expert will verify the resulting
forensic images by executing the form attached hereto as Exhibit A and return the
Devices and Media to Donziger.

f) The Neutral Forensic Expert then will create four (4) identical copies of the images of
Donziger’s Devices and Media, which shall be written to encrypted drives for security
purposes. Within two (2) calendar days of the imaging of Donziger’s Devices and Media,
one copy shall be provided to Donziger, two copies shall be lodged with the Clerk of
Court in a sealed envelope, and one copy shall be retained by the Neutral Forensic
Expert. The Neutral Forensic Expert shall maintain the set of images created from
Donziger’s original Devices and Media unexamined and unaltered until further order
from the Court. The Neutral Forensic Expert shall use the copy of the images that it
retains for searches and analysis as proscribed by this Protocol.

6. Neutral Forensic Expert’s Creation of a Person/Entity Report and Donziger’s Designation
of “Highly Confidential and Personal” Persons/Entities: The Neutral Forensic Expert shall create
a “Person/Entity Report” listing in the first column in alphabetical order the persons or entities
identified by the Neutral Forensic Expert on the Donziger Images as authors, recipients, senders or
persons who last modified, saved or printed any document (as reflected in the metadata of those
documents or communications). The Neutral Forensic Expert shall delete from the list any person
or entity whose name or email address appears as a Search Term on Exhibit B. After these deletions,
the Neutral Forensic Expert then shail provide the report to Donziger. Donziger shall have five (5)
calendar days from receipt of the Person/Entity Report to designate any person or entity appearing
onthe Person/Entity Report as “Highly Confidential and Personal” consistent with the criteria below
and under penalty of perjury and to provide the Person/Entity Report with his “Highly Confidential
and Personal” designations and an executed Exhibit C to the Neutral Forensic Expert and to the

3

 
Case 1:11-cv-00691-LAK-RWL Document 2172 Filed 03/05/19 Page 4 of 49

Court.

This designation process is intended to provide Donziger with appropriate privacy protections
without limiting Chevron’s right to relevant discovery, Accordingly, Donziger may designate for
potential exclusion from productions pursuant to this Paragraph 6 only Persons/Entities who are
wholly unrelated to the discovery ordered by the Court and any contempt or judgment collections
issues in this matter (such as a treating physician or relative without an interest in the judgment or
information concerning Donziger assets) and these designations should not be used for any other
purpose. Highly Confidential and Personal Designations cannot be made under this provision on the
basis of privilege as “Donziger has waived or forfeited any claim of privilege to responsive
documents and information that otherwise might have applied” as determined in the Court’s October
18, 2018 order. Nor can Highly Confidential and Personal Designations be made as to persons whose
names or emails appear on the Search Term List, Exhibit B hereto.

7. Provision of Donziger Images to Chevron’s Forensic Expert and Chevron: The Neutral
Forensic Expert shall make available to Chevron’s Forensic Expert and Chevron the Denziger
Images according to the following procedures.

a) First, the Neutral Forensic Expert will run the Search Terms in Exhibit B on the Donziger
Images.

b) Second, the Neutral Forensic Expert will compare Donziger’s “Highly Confidential and
Personal” Designations to the metadata and content of any materials that contain
responsive search terms. To the extent that any “Highly Confidential and Personal”
entity appears on any document responsive to the search terms, those documents will be
logged on a three-column report which shows the name of the “Highly Confidential and
Personal” person or entity in the first column, the search terms that the document was
responsive to in the second column, and in the third column all sender(s) and recipient(s)
ofthe document if any and the author and person who last modified, saved, or printed the
document per the available metadata. The Neutral Forensic Expert shall provide this log
to Chevron and Donziger.

Upon review of this information, Donziger will have five (5) calendar days either to
consent to the documents being subject to further review and potential production or to
object. If Donziger objects, concurrently with his objection he must provide Chevron
with a description of each designated individual/entity at issue, such as a “treating
physician,” and a copy of his executed Exhibit C via email. Chevron then will have five
(5) calendar days either to consent to the documents being excluded from further review
and potential production or to object.

If Donziger objects to further review and potential production and Chevron opposes
exclusion from further review, the parties will submit double spaced papers of no more
than ten (10) pages outlining their respective positions — and the Neutral Forensic Expert
will submit the document(s) at issue — either to the Court or a Special Master or

4

 

 
Case 1:11-cv-00691-LAK-RWL Document 2172 Filed 03/05/19 Page 5 of 49

d)

Magistrate Judge, as the Court directs at the time, for a determination of whether the
documents at issue will be subject to further review and potential production.

If Donziger does not object, or if the Court, Special Master, or Magistrate Judge
determines that the documents at issue shall be subject to further review and potential
production, then the Neutral Forensic Expert will include the documents in the universe
of those that are responsive to the search terms and subject to production pending further
review. If Donziger objects and Chevron does not oppose the objection, or if the Court,
Special Master, or Magistrate Judge determines that the documents may not be produced,
then the Neutral Forensic Expert will exclude the documents from the universe of those
that are responsive to the search terms and subject to production pending further review.

Third, Chevron’s Forensic Expert will provide the Neutral Forensic Expert with copies
of or access to the post-judgment third party productions made to Chevron in this matter.
The Neutral Forensic Expert will remove any duplicates from the universe of documents
from the Devices and Media that are responsive to the search terms and subject to
production pending further review. The Neutral Forensic Expert then will return or cease
to have access to the post-judgment third party productions.

Fourth, the Neutral Forensic Expert will analyze the documents that are responsive to the
search terms and subject to possible production pending further review to determine if
there are any significant categories of irrelevant materials that properly can be excluded.
This would include, for example, correspondence from online merchants that responds
to the Search Terms “account” or “amazon” but is not necessary to determine payment
methods or Donziger’s assets. The Neutral Forensic Expert will separate out these
potentially irrelevant materials from the universe of documents that are responsive to the
search terms and subject to possible production pending further review and provide 25
percent of these potentially irrelevant materials to Chevron’s Forensic Expert to review.
Chevron’s Forensic Expert then will confirm whether the sample set is irrelevant or
identify any decuments that are relevant. If any document is identified as relevant, and
the Court, Special Master, or Magistrate Judge, as the Court directs at the time, confirms
its relevance, then Chevron’s Forensic Expert may review the remaining 75 percent of
the materials for relevance under the supervision of the Neutral Forensic Expert. The
Neutral Forensic Expert will include any materials identified by Chevron’s Forensic
Expert as relevant in the universe of documents that are responsive to the search terms
and subject to possible production pending further review. If no document in the sample
set is relevant, the entire set of materials deemed potentially irrelevant by the Neutral
Forensic Expert shall be excluded from the universe of documents that are responsive to
the search terms and subject to possible production pending further review.

i) Supervision for purposes of this task and others in this Protocol that call for
the same requires the following. First, Chevron’s Forensic Expert shall not
access or search the Donziger Images at any time in any manner without the
Neutral Forensic Expert’s oversight. This oversight may take place either

 

 
Case 1:11-cv-00691-LAK-RWL Document 2172 Filed 03/05/19 Page 6 of 49

locally or on an electronic discovery platform. The methodology of the
review or searches conducted by Chevron’s Forensic Expert shall be recorded
in a detailed log (the “Search Log”) along with a description of what files
were reviewed or searched and when that review or search occurred. A copy
of the Search Log shall be provided to Donziger. The Neutral Forensic
Expert and Chevron’s Forensic Expert shall retain their own copies of the
Search Log.

 

e) Fifth, the Neutral Forensic Expert will provide Chevron’s Forensic Expert with the
greater of 100 documents or 10 percent of the universe of documents that are responsive
to the search terms and subject to production pending further review. To the extent that
Chevron’s Forensic Expert identifies any password protected or encrypted files,
Chevron’s Forensic Expert can identify those files to the Neutral Forensic Expert, who
then will promptly use the passwords obtained pursuant to Paragraph 5(b) ofthis Protocol
to allow Chevron’s Forensic Expert access to the relevant files. If Donziger has failed
to provide any and all passwords required to access any of the information stored on any
of the Devices and/or Media, Donziger must provide the passwords to any files upon
request from the Neutral Forensic Expert. Cheyron’s Forensic Expert then will provide
the sample set of documents and communications to Chevron’s counsel for coding as
“relevant” or “not relevant” and additional coding as appropriate to identify documents
responsive to requests 1 through 14 and 16 through 30 of Chevron’s request for
production of documents, attached hereto as Exhibit D, as amended by order of this Court
[DI 2009] on May 17, 2018. This coding will be conducted on an “attorneys’ eyes only”
basis. Once the initial set of documents is coded, Chevron’s Forensic Expert, under the
supervision of the Neutral Forensic Expert, will utilize assistive technology, including
but not limited to predictive coding and concept clustering, to run iterative searches of
the remainder of the documents that are responsive to the search terms and subject to
production pending further review. Chevron’s Forensic Expert may have Chevron’s
counsel code additional batches of documents in order to refine the search parameters and
use of predictive coding and concept clustering if the Neutral Forensic Expert agrees that
the additional coding would be beneficial to that process. This iterative search process
will be used to cull the documents that are responsive to the document requests from
those that are responsive to the search terms more broadly. Once this iterative coding and
search process is completed and all documents likely responsive to the document requests
specified above have been located, the Neutral Forensic Expert shall compile and assign
unique numbers to each file, document or communication (cumulatively “files”) to be
produced, and make a copy of all files, along with a report identifying any metadata the
Neutral Forensic Expert deems relevant for those files, documents and communications
based on the terms in Exhibit B and after consultation with Chevron’s Forensic Expert.
The Neutral Forensic Expert then will provide that information (the files, documents and
communications and the accompanying report) to Donziger and counsel for Chevron
simultaneously (the “Document Production”). The Document Production(s) will be
treated as “confidential” pursuant to the Protective Order for a period of fourteen (14)
calendar days.

 
Case 1:11-cv-00691-LAK-RWL Document 2172 Filed 03/05/19 Page 7 of 49

f) Sixth, if, after receiving the Document Production, Chevron’s counsel determines within
fourteen (14) calendar days that additional key words should be utilized for searches,
Chevron may make an application to the Court for leave to conduct additional searches,
Denziger shall file any response to Chevron’s request within seven (7) calendar days.
Each party’s submission shall not exceed ten (10) double-spaced pages.

8. Post-Production Procedures:

 

a) Donziger’s Designation of Produced Documents as Confidential: Within fourteen (14)
calendar days of the date that the Neutral Forensic Expert makes any Document
Production to the parties, Donziger shall notify Chevron via email using production
numbers of any information or document contained in the Document Production that
should be designated as “confidential” pursuant to the Protective Order and provide the
basis for his contention. If Donziger does not designate particular information or
documents as confidential pursuant to the Protective Order within fourteen (14) calendar
days of the date that the Neutral Forensic Expert makes any Document Production, then
that Document Production or any portion thereof shall be treated as non-confidential.
Donziger cannot designate documents as confidential en mass pursuant to this provision.

 

b) Donziger’s Ability to Clawback Irrelevant Decuments: If Donziger believes that any
information or document contained in any Document Production was produced in error
or is not responsive to requests 1 through 14 and 16 through 30 of Chevron’s request for
production of documents, attached hereto as Exhibit D, as amended by order of this Court
[DI 2609} on May 17, 2018, he must object to the production of that information or
document in writing by production number and request that the information or document
be returned or destroyed. Any such objection to production and request for the return or
destruction of information or document(s) must be served on Chevron no later than
fourteen (14) calendar days after the date the Document Production is provided to
Donziger and counsel for Chevron. If the parties cannot reach agreement on any of
Donziger’s clawback requests, those requests shall be submitted to the Court, Special
Master, or Magistrate Judge as the Court directs at that time. Donziger cannot demand
the clawback of documents en mass pursuant to this provision.

9. Destruction/Recovery Investigation: The Neutral Forensic Expert shall perform also forensic
analysis of the Donziger Images to identify any evidence that relates to the integrity, authenticity, and.
completeness of the data held on the Donziger Images. The Neutral Expert will also conduct a
forensic examination of the contents of the Donziger Images to review activity involving the
creation, downloading, transfer, deletion, obfuscation, or destruction of any files from March 4, 2012
forward, The Neutral Forensic Expert shall attempt to recover any and all files that were transferred,
deleted, obfuscated, or destroyed since March 4, 2012, and examine those files for responsiveness
per the procedures set forth herein in Paragraph 7 and with the involvement of Chevron’s Forensic
Expert and Chevron to the extent permitted by Paragraph 7. This means that any Donziger Image
that was transferred, deleted, obfuscated, or destroyed since March 4, 2012 that is responsive to one

7

 
Case 1:11-cv-00691-LAK-RWL Document 2172 Filed 03/05/19 Page 8 of 49

or more search terms either via content or metadata shall be considered responsive to the search
terms and subject to production pending further review. The Neutral Forensic Expert shall provide
a sampie set of 10 percent of these documents, but net the greater of 10 percent or 100 documents,
to the Chevron Forensic Expert. The Chevron Forensic Expert will provide the sample set to
Chevron for coding as “relevant” or “not relevant” and other coding as appropriate. The iterative
search process will continue as described in Paragraph 7 and any documents responsive to the
document requests identified through this deletion and recovery analysis shall be produced to
Chevron following the procedures set forth above in Paragraph 7. If the Chevron Forensic Expert
determines in conjunction with the Neutral Forensic Expert that the iterative search process
described in Paragraph 7 is incompatible with the set of documents that the Neutral Forensic Expert
identifies as those that have been transferred, deleted, obfuscated, or destroyed since March 4, 2012,
then the parties shall submit their proposed procedures for reviewing the documents for
responsiveness to the document requests specified above to the Court, Special Master, or Magistrate
Judge as the Court shall direct at the time.

10. Neutral Forensic Expert’s Reports on File Information: The Neutral Forensic Expert shall
generate the following additional reports (the “Reports”) for the period of March 4, 2012 to the
present:

a) Active File Spreadsheet — A report detailing the metadata for, but not the content of, the
active files on the Donziger Images, including the name of all folders and subfolders. To
the extent permitted by the available data, the report will include for each file: the
filename; the creation, last modified, and last accessed dates; the folder path to the file;
the file size; the MD5 hash value (a kind of digital fingerprint for a file); which Device
or Media the file resided on; and, for Microsoft Office Documents, the embedded Author
Name, the embedded Last Saved by Name, the embedded creation date, and the
embedded last modified time.

b) Deleted and Tampered Files Spreadsheet — A report detailing the metadata for, but not
the content of, the deleted files on the Donziger Images and files identified through the
Neutral Forensic Expert’s investigation described in Paragraph 9 related to the integrity,
authenticity, or completeness of any files on the Donziger Images. To the extent
permitted by the available data, the report will include for each file: the filename; the
creation, last modified, and last accessed dates; the folder path to the file: the file size;
the MDS hash value (a kind of digital fingerprint for a file); which Device or Media the
file resided on; and, for Microsoft Office Documents, the embedded Author Name, the
embedded Last Saved by Name, the embedded creation date, and the embedded last
modified time.

c) Recent File Activity — A report detailing the records maintained by Donziger’s Devices
and Media about the recent file usage. To the extent that Donziger’s Devices and/or
Media use the Windows operating system, these reports may include information in the
recent link files, jump lists, and similar locations.

 
Case 1:11-cv-00691-LAK-RWL Document 2172 Filed 03/05/19 Page 9 of 49

The Neutral Forensic Expert shall indicate the following in its Active Files Report and Deleted and
Tampered Files Report: (1) the total number of active or deleted/tampered files; (2) the number of
active or deleted/tampered files that were included in the Document Production(s); and (3) the
number of active or deleted/tampered files that were not included in the Document Production(s).
The Neutral Forensic Expert shall provide copies of the three reports described above to Chevron’s
Forensic Expert, Donziger, and counsel for Chevron. Counsel for Chevron shall have five (5)
calendar days to identify from the Active Files and Deleted and Tampered Files Reports files that
counsel believes may contain materials responsive to the discovery requests. Donziger then will
have five (5) calendar days to object. If there are no objections, the files will be produced to
Chevron. If there are objections, then the parties will submit their request or objections and the
Neutral Forensic Expert will submit the relevant files to the Court, Special Master, or Magistrate
Judge, as the Court shall direct at the time, to determine whether the documents may be produced.

11. Destruction of the Donziger Images Upon Termination of this Litigation: Upon agreement
of the parties or order of the Court that this litigation is terminated, the Neutral Forensic Expert and
Chevron’s Forensic Expert shall erase any data derived from the Donziger Images, including any
reports, and certify to Donziger or his counsel that any such data have been irretrievably deleted.
Notwithstanding the foregoing, the Court shall retain its copy of the Donziger images sealed in an
envelope for a period of five (5) years. The Court shall destroy this copy after the five (5) years have
passed. Prior to the mandated destruction described above, the parties jointly shall submit to the
Court in a sealed envelope a copy of any reports generated and served on the parties pursuant to this
Protocol, The Court shall retain these reports also for a period of five (5) years.

12. Donziger’s Representations: Any statement or representations Donziger is required or
permitted to make pursuant to the terms of this Protocol, including the disclosure of any and all
information required under Paragraph 4 and any designation under Paragraphs 6, 7, or 8 must be
made under penalty of perjury pursuant to 28 U.S.C. § 1746 and include the following language: “I
declare (or certify, verify, or state) under penalty of perjury that the foregoing is true and correct.
Executed on (date). (Signature).”

SO ORDERED.

Dated: March 5, 2019 i,

Lewis AL Raplan —
United States District Judge

 

 
Case 1:11-cv-00691-LAK-RWL Document 2172 Filed 03/05/19 Page 10 of 49

Exhibit A
Neutral Forensic Expert Certification

1. My name is and | am employed by as a

 

2. On ,201__, Steven Donziger provided me with access to the following
electronic devices and accounts:

3. On [date], I created full forensic images of each electronic device and account
to which I was provided access. The forensic images of each electronic device and account
included allocated, unallocated, and host protected areas. As part of the creation of the forensic
images, I recorded on a log, where applicable: (1) the date and time at which the electronic
device or account was provided for forensic imaging and the date and time at which the
electronic device or account was imaged; (2) the time set in the BIOS or system clock at the time
of imaging; (3) the “boot order” recorded in the BIOS of the electronic device or account at the
time of imaging; (4) the make, model, and serial number of the electronic device; (5) the
username associated with any account; (6) any identifying marks or labels on any electronic
device or account; (7) the tool and/or method used to create the forensic images; and (8) MDS
and SHA1 hash values of the data collected from the electronic device or account.

4, Before beginning any work on the electronic devices and accounts, | utilized a hardware write
block device (or comparable techniques standard in the industry) on the electronic devices and
accounts in order to protect the integrity of the existing data.

4. | have returned to Mr. Donziger’s custody each electronic device to which Mr, Donziger
provided me access,

4, | have made four identical copies of the forensic images of the electronic devices and accounts
to which Mr. Donziger provided me access. I have provided one copy to Mr. Donziger, one
copy to Chevron’s designated Forensic Expert, retained one copy for my records, and provided
one copy to the Court in a sealed envelope.

5. L will maintain my copy of the forensic images of the electronic devices and accounts Mr.
Donziger provided me access to in an unaltered state until otherwise directed by the Court.

Date:

 

 
Case 1:11-cv-00691-LAK-RWL Document 2172 Filed 03/05/19 Page 11 of 49

odURYD IUIeD,,
ouley,,
AHOTOS,,
SMOUSSIPUT,,

Aresyes.,

ae

<ASPLOYHeYS.,

,guswespny,, YO
,jususpny,, Oc/M i etoUy,,

.Juawespnye,, YO
,jusUspNy,, 0Z/M ,.212YS,,

A O]SSAUT,,
.ASOAU],,
,GUUSOAUT,,
OSEI[AI SSOIg,,

QINSSLJ,,

MONTE»

Wl, XO <1 PL
«19s, AO 4 9,
Al» FO «A Els
AS '6s, LO «4 $6
(81 AO icf 81

cles

, Juss DIOyUY
pue uollUdo0ssy,,

,juawlaspny,,
19 ,Juswspny,,
OZ/M ,JuoTUasIOsU,,

Jusuraspny,,
Jo ,juaUspny,,
OZ/M ,MONTUBOIeY,,

«{IZP1g,, 10 ,curjuasry,,

Jo .eunuedsry,, Jo .epeues,,
Oc/M ,JUSTTSOIOJUH,,

df iZe1g,, JO ,sunuasry,,

 

IO ,BUIJUSSIY,,
JO , Bpeues,,
OF/M , UOIUTOISYY,,

OSE,
cANdS
_ueldey,,
eQoles
«JID,
.YOSqID,,
Ung uOosqio,,

«Ld Vf:

.Jusulsspny,,
JO ,JusUIsptiy,,
OC/% , [PJUSWUUOIIAUY,,

cAPUPIGIO).5
.UOZenIy, 3

«BIUOZeWy,,

 

(SsL1059} 8) UL1o} YO1AvIS [|e Ul pophjoul 9q 0} SUOIEAA}])

Ff HQIYXA

 

.@]UOZeULY,,
QWaLy,,

«Ad VL:
.epuinsy,,
QICXII.,,

oX ADs
UOIASY),,
OUSy O8e’'T,,
« OLBY,,

« OSP'T,,

«SAguureyd,,
O¢/M ,UBLopenog,,

,juswaspny,, 10
qUSUISPNY,, OZ/M ,Jopensy,,

 

uonqounluy ODiat pur

 

jUoMIspne 1openoy ayy
0} Payepoy Suita], Yo1ess

 
Case 1:11-cv-00691-LAK-RWL Document 2172 Filed 03/05/19 Page 12 of 49

«4al'T,,
_AyunIaS,,
cL PISTE][OD),.
,gdtaooy,,
«Sd1OAUY,,
«PIB d,.
jake d,,
oahked,,
SUIAGY,,
AB,
.(USUIAR Y,,
_@OIDS7,,

UOTONIISUT,, 10
A S]SUETL,, jo 0 [/ cml AA,

JUdUISIB}5 IUIOSU],,
og SouEleg,,
.doyreur ASuoy,y,,

«PIB9 UPot),,

SP ),,

«POD,

_AousIINS0}dAI>),,
OldAry,,
UIRYSAIOLY,,
OOH E,.
SSUIARS,,

lepso ASUO,,

J 00Q 9) es

1994»,

SULIOIY,,

MOTPUTT M

«AAPIDUTT M3,

cc] PASBIPU MA,

.jisodac,,

c1POF$s,

,SISaIsqUy Ciysrsquisyqv,,
,JSOOqUY,, OT/M ,.JUI0I0 Y,,

SISOIOUT,,

«V¥ Ub,
SHBUS,,
«SPUodg,,

<SSULINIAS,,
«ROUTH,
,Qaelayxolg,,
Jeqorg.,,
.jUBIUNODOY,,
RPL,

STITT...

«cf @IOUBUT,,
OL/M ,JUSUIS}EIS,,

UbO’y.,
feuded,
IV,

,JUNOIDY,,

We a.

wopountay OOTA
pue jiourspne Asn0yy

 

 

dq} JO JUSMooIOjUy
0} peepey Sulla] qo1ees

 

198 L;,

e%oQ) I ”

{Se bJUI0IN,,
asusdxg,,

_ @SINQUIOY,,
_Julejay,,
OZNAUOJ,,
oH JOlds,
119),

‘ JOJsuUely,.
.USISSV,,
«ll?S3,
NOD,,
.«[@EUSPYUOD,,
<ATM°S,,

eotOf,,
Case 1:11-cv-00691-LAK-RWL Document 2172 Filed 03/05/19 Page 13 of 49

«LO66ETLOLSY,,

.sseduiop VAM.

8S [65

«BS 166L100994,,

eoleury Jo yueg,,

B83 ECs
«B8ECPIC8LT»
S9CEs»
eS 9CTOELLEDs
«B1V9.
«8 1V99TORLYIs
«&83L83,
ef BLEE6ELTH
«LS86;,
«LS 868VL8CE3,
cOCPEs
OTHELOS LEP,»

«CE 18s

«CEISIOI LEP:
bl 182:
ePLISIOI IEPs
[UP CLL,
.(ystueds),,

<AUST[SU),,

.OINFeUsTS,,
AIOSLADY,,
_JUSWUBISSY,,
ydersered,,
xouuy,,
.soolpuoddy,,
xipuaddy,,

, SOLIRIOUOHY,,
_ MOISISAU,,
,Oplansy,,
OVeMUo,,

oe OJIEJUO O: 3

SOSINDIY,,
ugronoaly,,
«SO1SBD,,
.Jospng,,
eX),

HOU,
«PUNOY,,
«puny,
O38Y,,
Queso,
por FO WHe’],,
.JoMOTIO,,
_Japue’y,,
ION,,

_UeO'T,,
.disodaq ayes,,
«lOWPOT),,

10199,

.134995,,
«POIQepu,,
SSoupsiqapyy,,

A4° Cs,

oAeiadoo’y,,

.d007,,

«P99C],,

«OL

Abedorg,, OL/M .JeoU..
cP1PISH., OL/M [P22

«PIO[PUB’T,,

_JUeU2].,,
.dO8S9'T,,
lOSSO'T,,
OSee’T,,
«P[OYSSee"].,
.@ojueIENy,,

OPURIENL,,
Case 1:11-cv-00691-LAK-RWL Document 2172 Filed 03/05/19 Page 14 of 49

S1Bo}yeNS usyor

<UIOD' 991]
OAPLWURJOUITWIRANS Mae] >
JOD BED

<WOd USUI gpopoeuutds.
SOL Susy)

yaseary suysy
UOSssON sopey)
syonue) use|
softury usuLe)
Jepindy usue)
ueWEND sojRED
syed BieD

<UlOd TIgqeie}UIMs04Ig>
s0AIg

Iplequio’] W olspeyy
“zapueuis,y ‘noyonig

"OU OSNOP BIg
UldIsp[OH uruumefueg

<W09 [eWsH)sunger>
sunge], uo

oles pasuy

BIEIALO AW

<WO09' 991}
JoATIUepoulpURaS@ AWS
uo}suyor AWW

ZBq OSUOTTY

SIORI[LA 99U0g OIpuelsry
ByQ[NZ OLSqTV

Bong opsqTy

IQUZOUT uelTy

<WOd PAOPL
OoleZElESMezees UsNse>
Jezees uysnsy
OpeuopyeyAl OF[OPW
SUOEMUNLIWUOT) SOIDY

<Sio'sIqouUmMJoj@)uoIee>
aseg Ue uoley

Justspny uenopensy
oq} PUe STV'T 9G}

OF PEA SUTTON;
pue sloquioyy] ules].

«4OPPTH
«@ PTH»
.Adurayu05),,
POD;
Aep AUIRY,,
«PFOUSHIOs»

«cd Ms,

,AS[URIS

ueSIOWL,, WO ,.AdUCG
Ys AURIS URSIOY,,
ued ATTY,

.2UQ [edeD,,
«JASH:,

«ASTMUL, UNS,,

dog 10I5,,

ce INds:

OSI] SISA,

HUE” SM

cPLEOPEles
TUEQRT,»

«0686:
«068660L06C00000.,
«6860;
«6860CPELL000000.:
eBSLEs
«8SLTTK878000000,,
«eBL.95>,
«BL9S I LZS¢L700000,,
«C86
«C8638 | 7VLO00000;,
«8 170s

«8 [C061 CHLO00000,,
oS DES,,
«S9ESZ7ZILTSTO00::

«Ad, wo
<URSIOWL,, UO .OS24D,,

L666
Case 1:11-cv-00691-LAK-RWL Document 2172 Filed 03/05/19 Page 15 of 49

JasuEleg eine]
<WO09'991]F
OA[TUIEJOUTT LUO S Mone y>
UBATIING SHeD]
UOJUTH Use
nesaeyl uns
Zopusyy OIG ony
Ojo ONE

otle[ ane
OMSOALA ueNe
ZUSeS O[geg uenr

zoda x

ORTTTA [PQs uent

<Ul

09 [RUS &) | Qelsopneuen’
eisginy wens

<t

oo dnoissulsusl@)yoezuls
yoezry enysor

uojydry enysor

QISUIYS OprepsyA] aso

opieley ssor
eID IB10f

<eosdyiydioppem@uyol>
‘ceo'saye
Joapelesol@)sdiyjigd-uyol>
sd uyor

youmaqojv uyor
<WO0d'S0TJJOA

LWeIUI] WEIS @M)rayruus p>
uaseLLy JoyTUUayr

SsO|] SUIUROL

SeoIBA STUIELr

ofenserg ovequuinyy

<U1O9 [1eUIs®) [ Jose[sy>
Jase] premoy

SUOTFEOIUNUIUIOZ UOJ]
BJAIQ OUMST]INS

uler BABQUIISY
josTey odnfepeny

<Ul
09 [leuis@eipoisysperidny>
BIPslep] oq ednjepeny

SO}CIOOSSY PUP SUL WeID
SUL WRID
uo weYyPRIH

<UWOYUSWD)WOD xXet>
diaquaaiyy ATeL)

ezouldsy epaiqen
Ml[OQuros]

SoyBIOOSSW PUB UL

LVdv

sofnyy ap uolseysiulMpy
ap [MAURIS], OSTLUOOIOPL
OLDUSTIARTILA, Opueuley
JOUITSYI9,]

ueWiey yey,

JaSUIfOH BAq

ZoaRYyD [euug”

noyonsg snbisuy

Souel[[y sssuIsng uessty

zonbse A ULMpy

suANS LLG

 

TT Aemeg wey yequoq
oABOUOTA] pyeuod

seag osuluoq

BIPSTAY SIPIUSIC

Boley os3iq

ApMOUS WaI3q

<UL
oo'Jojssomejdn3s@yedsap>
eidny xedeaq

aloo Yesrogqeq
AUST WA eed
[9319 A, B[oTURC
BIPSAReS [olUeg
MOLIO UR

19311 J ueq

sTjos wiedez enucs
ZESUO [BQOIsI I)
seSq ZounyA] Buns)

<WO? [[RWs@)zounWEsLIO>
ZOUNJA] PUNSIID

 
Case 1:11-cv-00691-LAK-RWL Document 2172 Filed 03/05/19 Page 16 of 49

“OUT SUOTIBOTUNTUTO)
ayerodi07) YIPOWUIIYS

SOpNnuLisg O39
oqoury sojues
auiso7 AoY
epuInsy oqo y
WOSMEY Waqoy
ATJOD WIqQoy

<U09 [BWI ®) [19] AOMXOI>
Ja[Aa My X2Y

SBASTIND Ssuoloonpolg
ourejuog Td

<Ul
Oo ME[SATBUURISM)ULIdd>
WUBIN 19194

JUBID) 19}9g
Agyrey I918g
sugy,) [neg

<U109 [eu
S@O)eaopsoorezepesoroyed>
BAOPIOZ AVZELRS Ole

JEZEVS OLR
OIIUIOY BOR
opesjeq Borg

dT] waisyoy
Zriaquasoy puvjoy oueryeg

zodax ojqed

ezopusyy Oprefey o[geg
opaeley o[qed

ozolEeg ojgeg

eprenmy, Ofged

Blallapy IeIsO

OzIUIENy opueyig
IOWeLy ULC
JeuoneuUsaul sBueyD [10

BlUueuon()
ofensoALX Op[PAIN

oqolly PIPIN

Q0Ud’] 2 SBOYDIN

OTT welxeN
SOILIOOSSY 3 PION,
T[2MIeH 2 [PON

vlog BoIUoy]

opeury A oppueny]
AQUI DAYAL

B07) 27 UOXRS ‘SsIdAaTA
HAIER [RESTA

MUI Oprlepsy]
sedi A UopIeyAy

SROLIOUTY IY] UO
9010.5 YSeL YURIOWY] ulreyp]

SOUR Y BLIBAL

vIpeiayy
aq odnjepend euepy

O[PFEILL) BLIBIAL
zodo, vlussng ee
SOdIeD) BUDS CLI

Zoe UZ[Ag BIE]

eEIfy sooreyy
Jeze[es [anueyy]
soRUIOY [anuey|
BIPAeH aq edn

<UW09 [BUS @)Z9VATI>
ezueyx SINT

OUaIOyA] SINT

uoseIy
BLIOIBD) ZONBIYA SIN]

SBIR SINT]

dnoip 19819q stnoT
SUOKqID) esl]

epunsy eipuexely BIpry
UOTNJOXIT

WYBeTS Iouzousy
ZOd0'T-IEZE[LS eI9T
OJOS UsINeT

JOT[NAL BineT

Len vine]
Case 1:11-cv-00691-LAK-RWL Document 2172 Filed 03/05/19 Page 17 of 49

oueys’y % ruelqey
Osa

SPIMpPPOA SOURNTY
Mv’T [eyusMUOITAUg

<310 eUleUByoed@)eUIe>
Idioy eu”

wpoUse A ayia
whOH woqusiya
MVId

<bo'oq'suy@uyolpa>
“uYyor PA

OT]OND opjsssoqg
[BuOHeUISIUy sIUBKY yey

“OU
‘dnoig yyeigs Aeumoq

Ayorpeg jatueq

<eo ue) weysuruungjq>
weysuluun;) poruec]

OTT sasazeyng Tso

ZIUD BUES BUTS

jayog JojAey Aouyinosy
UOIBIYIJA] PRIUDD

sueya’y Jaydoysuyy

<Npo pivasey’ Me]@MUOssou>

*<Wl09 [Ileus M)UCssou>
UOSSON sapeyD

OLRTY PS
YspeAA ouTSUIED

<Sio BuleUEyoed@)alsseo>
FBNS assep

MOM Bloqpuny euren
“OUY ALAA, SSouIsng

Waqisy song

<S1o euemeysed@)simiq>
} ‘<W09 [IBUB@YSIMLIG> ‘<
S10 Bue YOed@)IsEMa| [IG >
IMT Ta

goes [Td

dnoin ssureg uag

<UT

oo dnoissourequeq@)usq>
souleg usg

<
BIO YNeMUOZeUIeM)essoje>
IUB]JOS BssoTy

uoHepunoey Mog nox sy

NAV ao
SUOTJEN 18114 Jo A[quiassy

SUOTJEIUNWIWIOD SOW
JST, MoIpuy

owlon) MoIpuy
uBUpoon AuTyY

yoye My, UOzZeUry
BPlOUlLy BIPURXSTW
HOD XTV

ISoAd}H URTV

UOZRWY 94} Ul JasuRD VW

Ustedule-}
dinsseig dq} Ul poA[OAuy
SOHBUY PUL STENPIAIpUy

YOsily "§ [SYST

apresaypeg Ausg

ApMOUS Yousq

[euoneuIaquy
AyLM99g yeuoydicqg

Jase[y uoser
TES PUD 907

Off MIL wosy epuryo,
ofuvreny UOSTI AY

oneg WENT A

dnoin Jasta A,
YIPSUIWUTYS Vole A
BABQUIISY BOTUOIS A
OOOULL

dno) SUISTY, SY],

Yomssuly[oy Ada]

OJS YO
VIO A[Iwey sulpweens

usyod aaa1g
BUoIS

Boney
BZUBA BIPEIEN euBAnus
Case 1:11-cv-00691-LAK-RWL Document 2172 Filed 03/05/19 Page 18 of 49

AT]euUOD [sBYol
onsIpuog [oeyorAL

<npepl

AIC METS [p(Mvonseuu>
[SEQoTAL

souRl[V BIpsyl
parenbsoW

UdeoWw

<Ul09 MASH) SNGIEDY A>
Snqiey ulueyy

OTT Teegey eA
TUeIge; WRIA,
qeiq Bey

<3lo-eueweyoed@)oneur
SOWANORLIL ONVA

ACICL) VLIRIA
ues Bley

o1g[BD
Avley UsWeZD [op eR]

SUOWIG OOIRJA]

<slo euUeUIEyoed@yesteul>
SBLIY BIR]

slayeuiad siIno'T
nps"uojsouLId@) sero]
Jayeqes ez]

<wioo"
[leuls@)suoqq ssa] AOMeEsl|>
SUOGID BSI']

puejdos est]
youyenweg s1[soJ

BM] ISAT

uyey AUeT

sayoq Alley

BIUIOY UAT

Apouusy AUay
Suyjnsuo7y surysuns uay
suTUSUNS us

UdAIH sey

<eo AreB[eon@) Aouoyeury>
AQuoyBYY Uso; qe Sy

<tuod’suol
JOTUNWUWUOOUOIUIYM)usIey>
‘<WOo UOJUaTM)UaIey>
UOJUTH Use yy

wieyseIp sipne

many Yydesor

Jesulpieag ydasor

sOTyY Sulpesor

Aguusy uyor

uewiprey Wyo

PIMA UBOL

WISAOH IA] WIL

<Sio eueueyoed@esissor>
UBM EOISSOL

<eouje@ [oizpoyoy>
faizpoyoy Auloior

<wos sUU@Mpoomieusl>
poomry uar

ewooes eliog [neg ues

Aysmoyeyos ue
dieys souer
WeYyaog sewer
uossueyor qooer
PeF199/) Yoel
SSI

S010 A, 1O]SSAU]
AgTsine) uel
uepey AA Ysny

<

npeeuowiod®)/ 72-0. TH>
SWEITIAA JOUIVOH

ueys ueH

SSOUILMA TeQOID

"OC) SIMI] SSEID
Ojpueref Bpeliqes)
yLed oy) JO spuslsy
uouURSyY eossouRL J

Hey [ped
Case 1:11-cv-00691-LAK-RWL Document 2172 Filed 03/05/19 Page 19 of 49

Joel PL],
Asumog Appa

<0
a [lewis M—)ystedursuuezns>
ysleg suuezns

ULUIP[OH uesns

<er upeMyaynMs>
SNM Pens

WIP UsAI38
ATISO AA SATIS

JUSUISS URI
jossy Joie, Suds

Jemoy BIuosg

wo
o'dnoigsousequaq@urpeus

IOJABT, UOWIS

<uioo dnois A439
yesIsoM)ssouus| [iq UOUTIS>
“<Ulo

Oo [IRUISY)ssouus] [iq UOWIS>
SSOUUD|[Ig UOWNS

[95a], UOOUIS

wrodyy AaTjoys
JUSTIA UouURUS
<Npo" pie

azey Mey’g [p(@)yrujaysnds>
Yupsisng Aes1eg
BALA BAISS
proyoopy 1095
PANY YerES
SIMO] plojues
UBUISSIO AA WIGOY
JJOs0" PSqoy
ddory yroqoxy
UBLUPeLL] Usqoy

‘uy ‘Saqeloossy
ULADT YOoIg LWaqoy

WIASZ Weqoy
yeuenoy] qoy
SOLO, 4STea
eYUINAL, preyory

wonENns preyony

I9[AOM XO

<to Uje@)asnojno [y>
gsno[no |, BUISayY

JIOMION UOIY IATOJUIEY

BIPs| [P9IPea

“OU JUSWTASBURIAL
JUSUTISSAUT sgn

ZIBATY OYD0g
joysuely Jajog

<wloo URS IUONYsI@Moyoeld>
oyper Auuag

<eo UJPMAR[QUIaI] q>
Avjquiary, seneg

<31o' yoemuozewep)zed>
OUT A zeg [neg

oul A zeg [neg
yeynzig [neg
Jasneynen [neg
uossewoyy Asieg

Ayayoq some g

ATV yore
OUIBULO] Teg

<al0

“puueueysed@uosyselyed>

uosyoec ye
<U0d [IEUB MO) Ist euRsyO>
YSEN BION,

JUSUTSIAUT
[eloos punoismon

puny JUsueIMey
UWOUIUOZ 2181 WIOX MON

spun UOIsuad
UOUIWIOZ YIOA MON,

OU] [OSI
SSI BILOY]
ugsIspUYy YOU]
jeyjuasoy eT
oolUly,] BISeysI

<0
2 [IVWs®)[seYoU BONIeUL>
BONIRYAL [SVU
Case 1:11-cv-00691-LAK-RWL Document 2172 Filed 03/05/19 Page 20 of 49

<woo siguLedyeiou
BULSEe®) |[VysIeur plAep>
TeYsteyy plaed

SIV NAANOD
daIVNOD

qOoOdVAOAN A! Jopensy
Biielonply elueduic>

ugjo9

<wiosa]{spdf@)s2[s19°JJI[o>
*<UI09"|
2yideopioyuopM)\ls]s1a-Jpl]I>
*<Ul0a"9
QUBUTJIOA[RULD)19[S19 JI1[I>
*<Wloo sIsuedye
jouRUlysepyOa[stq INO>
T9(STH BNO

ITI AHO
pesog Joydojsuy

<
WOd Ja] WIpIO;M)]Jaqdwes>
proj yjeqdues

JTI dnoin proping
OTT fendep projing

pouwry jended poping

[elude projing
<wos'ol[spd[Ms[sta"uaq>
“<Ul09"
[eudeoprojuop@)ssstouaq>
Jo|siq urumelusg yo uag

OOBXI |,
lod sopeyayy ap eayquiesy

Jopreus seipuy

peiuur’y]
AIZAOIIY vIUOZBUTY

JIdV
YO qwory ssuajaq! uozeury

IdV YO
UOTT]BOD ssuajaq uozeUTy

UASTY Wepy

urjdey uaydeis sonig
JasAulg BIRD

vidny yedeaq

SION wr04

JOSE[D pIemoy

eyjasa A, Ale]

Ol

uBwpoiy ATS preyory

dTT
Byjasa A, 2 uRdey “Iashwg

asedaqnr’y 907
eUeUIEyoeg UOLepUun.y
edney uolepuny
qouRyY euEWUEyoeg aU,

uoljepuno,j euewueyoeg

 

yUdUlspHe UeLIOpEenoy
SY} Ul S}Sd1OjUY OF poyepoy
SoMUG pue sfenpiarpuy

JUsWMASeULTY] Jess ULASZ

S10 yoyemuozewe@)dez

<POUJCMSILID A>
Steiz Aoue x

<89']OU
lop OpryoopyyT wot A>
PIEQOOHAT StL,

SeUOUL TEA

SISTA, BUI, 183M,

jusweseuryy jessy Usple A
<wos
AIP[EpUNJUOTeARMopLAvy’ A>
OPLABE] BOTUOIO A,

(ASV) Jealfog
UOUILS BUIPUY PEprsIsAluy]

wmNsoTS WosAT,

yUOWUAS URI
Jessy UNIT

<dlo'euUeUEyoEd@)A0By>
addy Avery,

Zi) AUOT,
ajedeyy Auoy
spuowads IO],
yprerg AOU L

uasysoy seuOy,
yodenig sewoyy,
YSeUBAL. SPLOY

Aueduiog
SING UOMO 2Aq PIL,

SNSI9A, PMOL) BY L,
Case 1:11-cv-00691-LAK-RWL Document 2172 Filed 03/05/19 Page 21 of 49

OTT feude 3g

jistispiy UeLIopEensy
9G) UT S1O}SOAT]

Je aa}0g 0) poyejoy
SHUG pue spenplAtpuy

 

PIOJSPOO AA,
UMOIG] SIMO] SITET,
JT] Ssue d 99] ]9 AA
JT] 2ueULy SIGM
UBIO’ My

<WOD OUIMUOSTEMELIOIOLAS
UOSTB AA BLOIA

LdvVanh
SUOTINIOS [LIOUBUL J Boor],
PoyUr'] BAI],

<=
WOd [eIoURUTsOsS@ueIgQgel>

weigqy Avo,

Jeuorjeurs}UT
SAdIAIOS JUsWARY DIL

URWISYS JasIZUOg uEsNs

sueyns usydajs

<Wwos bassormydays> ‘<
Woo TreMs@)sAu'ydajs-ed>-
Lin srurydays

redoxerg

[epleg ukajag

BA0I3S

UlpASTY wes

uoe'Jaq [[assny

JT] sasopouysey issoy
S198 AA I9BOY

EWN Tey

‘PY] suyjnsuog suepog
ASINO

ATT Suems[O
NOWOUOIT SB[OYSIN,
diooman

qoorf-Usg [aeysIA

YIMUIT YILA]

TI

MB’T Jd4s1deyAl

“‘D'd FAQ “Bw YIMS uyoy
ULJOY

BMI

ATT A[0yog shvy
SUE WEY

SIAIEL UBIENE

uyoy ydesor

JOJO URYyJeUOL
<Woo'boessormwayf ‘<tr
o9‘ye1deopiojyuop@) way l>
uflolsusyIeyy UR A WyOr
wen Bel

UldISp[OH Avr

Aaygejoay] souer

peur] ajdoog snoussipuy
<U09"jU9
WoseUBUTJOSSEUOS}EM@)MI>

‘<jou' o1ldeuss@)MI>
UOS}]E AA UL]

uosye A UPT
IeyeIqiy suessey

SH

Aretonphy LO

<

woo deol quas gulf Aonys>
WAST UUS[DH

UI[AITY UUS[H

UBUISSOL) 9F1095

Vda YO eluozeuy
8] ap BsUdTaq op s1Ua14

qury very
pusoxg
S00 IL a

<luoo' boyssol@) WAya>
ufleysuaylayA] URA Yoqezi[y

Teudes prioyuog
IPOS %49q

UBUEISYS plAaed
Case 1:11-cv-00691-LAK-RWL Document 2172 Filed 03/05/19 Page 22 of 49

BjoIn)
oquiry) Appely olsueuag

Rymsue |
BINH sopso1ayAy Zijeeg

ofenselg Oply[iA, opueuy
ofenSedeg oppeuog opeyry

ol0g olpuelayy

 

Syuulelg osy Ose]

wl
oo [ey deopres@)Jso[puryosmM

uo
a Asosued@)naipiey orig

<
os sqelaspugqiesis@)un>
‘<Wloo'SUL][NSUO
soSplLqisas@yyezozsnyeyy>
yezozsnpepy “Y AYOWT TL

<wios sorjsn{premoyM)ull] >
pyemoy WIL

<
W109 [RWIS M)sueKsousLey}>
K s0uaua]

<W09 JOro@auyny>
ony A AvuUUe |

UIOISZES 9915

<310']]IYSMOUS@UIAS]S>
Age H ueacs

syeo Ay Uaydars

ITI
‘SQOIAIOG [BIDURUL SOS

HIND 2218

<
woo'sisupediqq@) yduinis>
yduimy yeres

OSal M4, [[SSStYy

<JoU'1sBoUI09@) TLASNTeMI>
Aayye A POW

<alou
olyepunopjosiowos@)1e}0d>.
DOJO AOUBN 29 dle

Jaqiaqyss [ned

<W
00" [AUS®) [[oWeur sepoysiu>
Se[OUSIN

cl

JISIZUOC] [SBYOIIA

sseajaq] [SeYSIFA

<310°A

QUOUO[NOSHSIM | QUUA T>
*<WU0d"[1BWISM)sIM7 SUUAT>
SIM |, oUUA'T

<Ul
Oo TWIBUIPOT][I@)SIOQULD [>
SIOQUIID 99°T

Woo [EWE H)z1US/y

<illlo0
a AuedwmosaA00M)o}s B10] y>
91S810J Us yy

<Ul0o'as
UBYISUISTRIG@)ACUIDAYTCY>
‘<woo ou@)Aewia[AYyey>
Aeway Aue yy

WwW
09" [IRWIS @)o][SIOSIApEUYeH

ysng ueyjeuor
paywry syeuor

<iips preasey swy@) fonys>
anys uyor

subpeag wyor

<wooyeyid
voplojuopMueussloo youl
ueUs[OD UYyor

<WOd "TW WIYO!][2eM@)uYyoD >
uyor) assar

<UT
09 [BUS @)9|[SIOSIAPVUYe >
uyey Aygo

<jou dnoidjedo@)Ajo>
uewoy AT ug

somoong s[qeinby
JOZ}aMyYyaS ATW

OTT soinius,, ueLIopensg
<uio9"9]N
JISUISUOTIsUBn@)URWUaZp>
‘<AUMOD UBUSZPM)Plraep>
uRWs7 plAeqd

uosssyeg AYES

WO] sAIg

ISIMAT, The

<jou oiseuss@)se>
uopiory AuoYUY

yyeoyeuoyye
Case 1:11-cv-00691-LAK-RWL Document 2172 Filed 03/05/19 Page 23 of 49

Zn) oeslpag-3esed

O[BAGIV
souefuey wea sopreg

[eaopues
sopaleg oluowuy sopreg

OpeIeATY PI]I99[GON
Opayjopon-IeAljog

UO yy Ue fueg

 

SJUNOIDY J{V'] Wor preg
soppUY pur spenpiaipuy
BIBUIC) BPURLO A

oyueyon’y] Wer]
ofenseig oyezuon o1opos y,
ofendre 4 spueyisn’] uowis
BUUOdLING OLAINS

OQUITY) BSD] BSOY
OUSIOJ BSOY

afensie 7,
SPpUBIISN'] Op[eUlsy]

BpuInsY UOSTI AM, OLDIQE

oquin x,
oqUTyD oLeqry o1opied

BP13D BJSIH BUO[H B3lO

oueny
BAOPIO“) [SVWIS] OLABIIO

ZOBAION,
BIINSUeL EPlYy esIoreN

Aeqequieg AoueN,
ofensedeg oer [ans]
ZOUSUL PUBLIETA]

JezeyesS
Bpuinsy vOpIA PLE]

zansupoy
Buayepaxy] PLIByAl

SOIGALA, BIOUSLIOL BLE

O[2ASY
SODSEIY LL[I]D VLA

SOISEIY VII[D BUR]

ensuesn Zn’T

tl

ZOBAIEN,
RpInsuel eljaq vsiny

oquiny,
oquiy. opueuny sin]

B[msue y
Byoin onbuug ony

Binduel,
oquIlyD zlyeag sapmno'T

oguin j,
opelealy esof OZUSIOT

ofenseig ounsne

O][9AdyY [SLIGeLy asor
O[PASY_ [PLIQeH sso
ofensedeg ofendedArg Joraer
ofengserg Jo1avy

ing weurr

ofuereN
oyseuleD Opies osny

BoBrengL) UOIETE | O1OPOs[SsH

opugzisny] ofenseAeg
SUDO A, OULISTTIND

RJQID
BlInsuey, eloolan’y] euo[H

R[INSUBT JOA COsTOUBIT
OqUIN,, OpeIeATy oosiouely
ofenseAeg ofenseig ure,

ayuepon’y odijoq
ofensie x syuvysny ueqos7

afensie x,
epuRysn’] UTE OLTUr

afendeAeg
afensecrg oaqoy sep

“ofendeAeg sepruce] uyjeq

ofendie x,
OpURIISN']T sopIVs [sued

epuinsy omWeEY app

enguersng
SOJDATA, SUIT BIII7)

Bpunsy BIUOIWY eUl[eyeD
eoojeyeny BIN sopie>

ByInsue
oquIN,, BIUgIUY ByEg
Case 1:11-cv-00691-LAK-RWL Document 2172 Filed 03/05/19 Page 24 of 49

OURIqUIRZ SE[OIIN
xIfog WeAINA

[BIOL UOUTAL

BINDIS Uae]

UOLLIB) 9SOf PUIL]A]
ezouldsg epuelia,y BLE]
esouldsy epeusay eueyy]

ZOUNTA
BUNSIA Bipuvlo[y BLE]

BLIAY BIE]

BIO
ayoense A oluoly ooseyy

HSA [Shuey]
Buss’y sity]
zopueulepy sin]
ZoIeNG BURT]

euld
ZOUOPIO, IRS] OpIeUde]

OUDIOJA[ UU]

oypifnal, zesaD orne

ueploy ueyseges uene
zoda x oloeus] aso

SBID ad10¢

zojueseg vueyor

yjopues sues

JOpBAleS OSIYT

BOLIRT OARISN

SUIM_ JooussuoT AIOsoIL)
ZOUR A UBULIGD

OpBleA[Y OpuBisy;
wool, 2Wq

BzOpus|] Oprenpy
SsesuURy] Opienpy

Bolen ossic]

ezopus|y [ore

sopenog
[ap [BUOIONSUOT 31109

($9949)
[els0¢ jojo? A vuepepnia
uoloedioneg op ofasuo7

tI

TTSYSuAL TISNSIA Se[teyD
LOA sopeg
ZINY OpegyTy

TOpEny JO dpqudeyy

 

OU} 0} Poyefoy, SPEMplAIpuy
Sopore y
SOSUIJA] [9Q VY JOW]L A,

WOLT VIO HOALAM

Oy] Hye)
OUDYOURTA] SE[OIIN OLOIULA,

“VQLT
VID LSV Idd OV aL

oyoeues)
JEUOJA] Seles] O[NAIas

“VOLT VIO
SONVAWYAH NVWOY

OT[SIA Bre] opsvo Try
SOIqUININS OIPFY

VS ZHHONYS
OZVUT VAOMHTAON

ATT Offouruny, Su]

BIOLIOEY
epuRID O[IWse10] J-O1Ne

or1aWoY
qundy oprenpg on

ZAUOPIO
BINUaTeA JeseD one

omowey)
ZOpueWISH UlpyueIy-opuenr

suo07>l “gq wyor
OO] SA[qoy ounry cures
“y's seapidnoin

epurit)
ZIVZUOD) BUSI A -OfeH

ouloser
sopoled OpuruIa.] O72

[SOR] LA
SQPBIOJA[ OLIVSOY BIA[T

eoysg BAonZ ordipy-o8aIq

ueqdVy
Bundy OlsLney-[eqoisluig
Case 1:11-cv-00691-LAK-RWL Document 2172 Filed 03/05/19 Page 25 of 49

preUuogy] seo L,
BIOL B] ap ZWD vouryg

SBABN OUDLIE [AeJeY

Opulyen oreaTy

BIDLIBH [NEY BOLIC] O[D0I8 JA]
Bsoy IC ooze luog|eJ Jopuey

opulyey orealy BIBACZ JOTACX

SI

OZBI OPTI
BUI[OYY Apus AA,
ZQJURSIg UOJSUIYSE A
oLaqUOTAy Zodo'T JO}OLA,
BuUIINgG 1019.4,
BURLepIQ PURE],

NIVNAS

ues Yura

BAJIG PUBXOY
BIO] SIXOTY
BaIIOD [aejey
ZOULLIRIA] BOWIE
ByIARd Oqed

OZIUIENH OpUeyIO
Case 1:11-cv-00691-LAK-RWL Document 2172 Filed 03/05/19 Page 26 of 49

Exhibit C

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

sme ee ee ee ew ew ew ew ew ee eB ee eB ew eB eB eB Be eB Be re eer ee x
CHEVRON CORPORATION,
Plaintiff,
v. ‘11 Civ. 0691 (LAK)
STEVEN DONZIGER, et al.,
Defendants. :
we eee eee ee ‘

DECLARATION OF INFORMATION CONCERNING PERSONS/ENTITIES
DESIGNATED AS “OIGHLY CONFIDENTIAL AND PERSONAL” PURSUANT TO
PARAGRAPH 6 OF THE FORENSIC INSPECTION PROTOCOL

I, STEVEN R. DONZIGER, hereby declare under penalty of perjury pursuant to 28
U.S.C. § 1746 that the following is true and correct:

1. Pursuant to Paragraph 6 of the Forensic Inspection Protocol, I have attached to
this Declaration, as Exhibit A, a highlighted version of the Person/Entity Report, which
highlighted persons or entities I hereby designate as “Highly Confidential and Personal.”

2. No person or entity appearing on Exhibit A has ever had any involvement of any
kind in any of the below-listed actions or in any action related to or consolidated with any of the

below-listed actions or in any appeal thereof:

Chevron y. Stratus Consulting, Inc., No. 10-cv-47 (D. Colo}

Inre Application of Chevron Corporation, No. 10-mi-76 (N.D. Ga.)

Inre Application of Chevron Corporation, No. |0-mc-134 (S.D. Tex.)

in re Application of Chevron Corporation for an Order Pursuant to 28 U.S.C. § 1782
to Conduct Discovery for Use in Foreign Proceedings, No. 10-cv-2675 (D.N.J.)

* In re Application of Chevron Corporation, No, 10-cy-1146 (S8.D. Cal.)
Case 1:11-cv-00691-LAK-RWL Document 2172 Filed 03/05/19 Page 27 of 49

eee ee 8 @ &© @ @ @ 6 ee «© @ @© @ @ @ @

In re Application to Issue a Subpoena for the Taking of a Deposition and the
Production of Documents, No. 10-mc-371 (D.D.C.)

Chevron Corporation v. Quarles, No. 10-cv-686 (M.D. Tenn.)

In ve Application of Chevron Corporation, No. 10-mc-1 (S.D.N.Y.)

in re Application of Chevron Corp., No. 10-mc-2 (S.D.N.Y.)

Chevron Corporation v. Charles Champ, No. 10-mc-27 (W.D.N.C,)

Chevron Corporation, No. 10-mc-21 (D.N.M.)

Inve Chevron Corp., No. 10-mce-10352 (D. Mass.)

Chevron Corporation, No. 10-mce-53 (S. D, Ohio)

Chevron Corporation v. Rourke, No, 10-cv-2989 (D. Md.)

Chevron Corp. v. Allen, No. 10-mc-91 (D. Vt.)

Chevron Corporation v, Picone, No. 10-cv-2990 (D. Md.)

Chevron Corp., No. 10-cv-549 (W.D. Va.)

In re Application of Chevron Corp., No. 10-mc-208 (E.D. Pa.)

Chevron Corp: In re Application for Order Enforcing a Subpoena, No. 10-mc-30022
(D. Mass.)

Chevron Corp. v. Weinberg Group, Inc., No. 11-me-30 (D.D.C.)

Chevron Corp. v. Page, No. 11-cv-395 (D. Md.)

Chevron Corp. v. ELAW, No. 11-mc-7003 (D. Ore.)

Chevron Corp. v. Banco Pichinca, No. 11-cv-24599 (S.D. Fla.)

In re the Application of the Republic of Ecuador, No. 10-mc-80225 (N.D. Cal.)
In ve the Republic of Ecuador, No. 10-mc-40 (E.D. Cal.)

In re Application of Carlos Lusitand Yaiguaje, No. 10-mc-80324 (N.D. Cal.)
in re Application of Daniel Carlos Lusitand Yaiguaje, et al., No. 11-mc-80087 (N.D.
Cal.)

In re Application of the Republic of Ecuador, No. 11-mc-80110 (N.D. Cal.)

In re Application of the Republic of Ecuador, No. 11-mc-8 (E.D. Cal.)
Republic of Ecuador y. Bjorkman, No. 11-cv-1470 (D. Colo.)

In re Application of The Republic of Ecuador, No. 11-mc-73 (N.D. Fla.)

The Republic of Ecuador v. Kelsh, No. \4-me-80171 (N.D. Cal.)

The Republic of Ecuador v. Exponent, Inc., No. 11-mc-80172 (N.D. Cal.)

The Republic of Ecuador v. TestAmerica Labs., Inc., No. 1 1-mc-88 (N.D. Fla.)
The Republic of Ecuador v. Gregory S. Douglas, No. 11-me-91287 (D. Mass.)
The Republic of Ecuador y, John A, Connor, No. 11-mc-516 (S.D. Tex.)

The Republic of Ecuador v. GSI Environmental, Inc., No. 1\-me-517 (S.D. Tex.)
The Republic of Ecuador and Dr. Diego Garcia Carrion, No. 13-cy-1112 (D. Colo.)
Chevron Corp. v. Donziger, No. 11-cv-691 (S.D.N.Y.)

Chevron Corp. v. Salazar, No. 11-cv-3718 (S.D.NLY.)

In re Application of Chevron Corp., No. t1-cv-1942 (D. Md.)

Chevron Corp. v. Douglas Allen, No. 11-mc-57 (D, Vt.)

Chevron Corp. v. Salazar, No. 11-mc-409 (D.D.C,)

Chevron Corp. v. Salazar, No. 11-mc-8 (S.D. Tx.)

Chevron Corp. v. Banco Pichincha, No. 11-cv-23049 (S.D. Fla.)

Chevron Corp. v. Salazar, No, 11-me-80217 (N.D. Cal.)
Case 1:11-cv-00691-LAK-RWL Document 2172 Filed 03/05/19 Page 28 of 49

Uhi & Associates, Inc. v. Chevron Corp., No, 11-cv-5292 (D.N.J.)

Chevron Corp. v. Donziger, No. 12-me-80237 (N.D. Cal.)

Chevron Corp. v. Donziger, No. 12-mc-80238 (N.D. Cal.)

Chevron Corp, v. Donziger, No. 12-mc-65 (S.D.N.Y.)

Chevron Corp. v. Donziger, No. 12-mc-673 (D.D.C.)

Chevron Corp, v. Donziger, No. 13-mc-80038 (N.D. Cal.)

Chevron Corp. v. Salazar, No. 11-cv-2426 (D. Colo.)

Chevron Corporation v. H5 et al., 14-me-144 (S.D.N.Y,)

Chevron Corporation v. MCSquared PR, Inc., No. 14-mc-392 (S.D.N.Y.)

Patton Boges, LLP v. Chevron Corporation, No. 10-cv-1975 (D.D.C.)

Patton Boggs, LLP v. Chevron Corporation, No. 11-cv-799 (D.D.C.)}

Patton Boggs, LLP v. Chevron Corporation, No. 12-cv-901 (D.N.J.)

Dessarrollos Punta Alta, Despunta, C_A. v. Chevron Corporation, 16-cv-21385 (S.D.
Fla.)

Maria Aguinda Salazar y Otros v. ChevronTexaco Corporation, No, 002-2003-P-
CSINL (Superior Court Nueva Loja)

Chevron Corporation and Texaco Petroleum Company vy. The Republic of Ecuador,
PCA No, 2009-23 (Permanent Court of Arbitration, The Hague, The Netherlands)
Yaiguaje v. Chevron Corporation, No. cv-12-454778 (Ontario Superior Court of
Justice)

Daniel Carlos Lusitande Yaiguaje, et al. vy. Chevron Corporation, Chevron Canada
Limited and Chevron Canada Finance Limited, File No. C57019, M43289 (Court of
Appeal for Ontario)

Daniel Carlos Lusitande Yaiguaje, et al. v. Chevron Corporation, Chevron Canada
Limited and Chevron Canada Finance Limited, File No. C63309, C63310 (Court of
Appeal for Ontario)

Daniel Carlos Lusitande Yaiguaje, et al. vy. Chevron Corporation, Chevron Canada
Limited and Chevron Canada Finance Limited, File No. CV-12-9808-00CL (Ontario
Superior Court of Justice)

Chevron Corporation and Chevron Canada Limited v. Daniel Carlos Lusitande
Yaiguaje, et al., File No. 35682 (Supreme Court of Canada)

Maria Aguinda Salazar, et al. v. Chevron Corporation (Superior Court of Justice,
Brazil)

Aguinda Salazar, Maria et al. v. Chevron Corporation on Exequatur and Recognition
of Foreign Judgment, Case No. 97,260/12 (Civil Court, Judiciary of Argentina)
Chevron Corp. v. Amazonia Recovery Ltd., Claim No. 2014-C-110 (Supreme Court of
Gibraltar)

Chevron Corp. v. DeLeon, Claim No, 2012-C-232 (Supreme Court of Gibraltar)
Chevron Corp. v. GT Nominees Ltd., Claim No. 2014-C-i11 Gupreme Court of
Gibraltar)

Chevron Corp. v. Julian Jarvis, Claim No. 2014-C-112 (Supreme Court of Gibraltar)
Chevron Corp, v. TC Payment Servs Ltd., Claim No. 2014-C-113 (Supreme Court of
Gibraltar)
Case 1:11-cv-00691-LAK-RWL Document 2172 Filed 03/05/19 Page 29 of 49

3. No person or entity highlighted on Exhibit A hereto has ever had any involvement
of any kind in the enforcement of the Ecuadorian Judgment or any attempts to monetize or profit
from the Ecuadorian Judgment, including by selling, assigning, pledging, transferring or
encumbering any interest therein.

4. No person or entity highlighted on Exhibit A hereto owns or has ever been offered
or discussed obtaining any right, title or interest of any kind in the Ecuadorian Judgement or any
right, title or interest directly or indirectly traceable to the Ecuadorian Judgement or enforcement
of the judgment anywhere in the world, including any right, title or interest in Amazonia.

5. No person or entity highlighted on Exhibit A hereto has any knowledge regarding

my assets or of any transfer of my assets since March 2012.

Executed on this day of , 2019 at

 

Steven R. Donziger
Case 1:11-cv-00691-LAK-RWL Document 2172 Filed 03/05/19 Page 30 of 49

EXHIBIT D
Case 1:11-cv-00691-LAK-RWL Document 2172 Filed 03/05/19 Page 31 of 49

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

CHEVRON CORPORATION, :
Plaintiff,
v. ‘ 11 Civ, 0691 (LAK)
STEVEN DONZIGER, et al,

Defendants., x

CHEVRON CORPORATION’S FIRST SET OF REQUESTS FOR PRODUCTION OF
DOCUMENTS IN AID OF THE SUPPLEMENTAL JUDGMENT TO
DEFENDANTS STEVEN DONZIGER, THE LAW OFFICES OF STEVEN R.
DONZIGER, AND DONZIGER & ASSOCIATES, PLLC

lh the above entitled action in the United States District Court for the Southern District of
New Yerk,' a supplemental judgment was entered on February 28, 2018-110 favor of Chevron
Corporation against Steveri Donziger, The Law Offices.of Steven R. Donziger, Donziger &
Associates, PLLC, and others, for the sum of $813,602.71, which rernains due and unpaid,

YOU ARE HEREBY COMMANDED, pursuant to Rule 69 of the Federal. Rules of

Civil Procedure and CPLR Sections 5223 and 5224, to produce on or before April 27, 2018

 

! The parties fo this action are Chevron Corporation.(Plaintiff) and Defendants Steven Donziger, The Law Offices
of Steven -R. Donziger, Donziper & Associates, PLLC, Hugo Gerardo Camacho Naranjo, Javier Piaguaje Payaguaje,
Stratus. Consulting, Inc: Douglas Beltman, Anne Maest, Pablo Fajardo. Mendoza, Luis Yanza, Frente de Defensa de
la Anazonia A/K/A Amazon Defense Front, Selva Viva Selviva Cia, Lida, Maria Aguinda Salazar, Carlos Grefa.
Huatatoca, Catalina Antonia Aguinda Salazar, Lidia Alexandra Aguinda Aguinda, Patricio Alberto Chimbo
Yumbo, Clide Ramiro Aguinda Aguinds, Lais Armanly Chitnbo Yumbo, Beatriz Mercedes Grefa Tanguila, Lucio
Enrique Grefa Tanguila, Patricio Wilson Aguinda Aguinda, Celia Irene Viveros Cusangua, Francisco Matias
Alyarado Yumbo, Francisco’ Alvarade Yumbo, Olga Gloria Grefa Cerda, Lorenzo Jose Alvarado Yumbo, Narcisa
Aida Tanguila Narvaez, Bertha Antonia Yumbo Tanguila, Gloria Lucrecia Tanguila Grefa, Francisee Victor
Tanguilla Grefa, Rosa ‘Tétesa Chimbo Tanguila, Jose Gabriel Revelo Liote, Maria Clelia Reascos Revelo, Maria
Magdalena Rodrignez Barcenes, Jose Miguel Ipiales Chicaiza, Heleadoro Pataroii Guaraca, Luisa Délia Tanguile
Narvaez, Lourdes Beatriz Chimbo Tauguila, Maria Hortencia Viyeros Ctisangua, Segundo Angel Amanta Milan,
Octavio Ismael Cordova Huanca, Elias Roberto Piyahuaje Payalniaje, Daniel Carlos Lusitande Yaiguaje, Benancio
Fredy Chimbo Grofa, Guillermo Vicente-Payaguaje Lusitante, Delfin Leonidas Payaguaje Payaguaje, Alfredo
Dongldo Payapuaje Payaguaje, Teodoro Gonzalo Piagnaje Payagnaje, Miguel Mario Payaguaje Payapnaje, Fermin
Piaguaje Payaguaje, Reinaldo Lusitande Yaiguaje, Luis Agustin. Payaguaje Piaguaje, Emilio Martin Lusitande
Yaiguaje, Sitnon Lusitande Yaiguaje, Armando Wilfride Piaguaje Payaguaje, and Angel Justine Piaguage Lycitante.

1
Case 1:11-cv-00691-LAK-RWL Document 2172 Filed 03/05/19 Page 32 of 49

responses and/or objections to each document request to counsel. at Gibson, Dunn & Cratcher-
LLP, 200 Park Avenue, New York, N'Y 10166-0193..

INSTRUCTIONS

1, The definitions and rules of construction set forth in Rule 26.3 of the Local Rules
for the Southern and Eastern Districts of New York are incorporated herein.

2, This First Set.of Requests for the Production of Documents “REQUEST” or
“REQUESTS”) calls for the production of all DOCUMENTS (“documents” INCLUDES
electronically stored information) in YOUR possession, or subject to YOUR custody or
CONTROL, INCLUDING DOCUMENTS in the possession, custody, or CONTROL of YOUR
agents, attoreys, or representatives (INCLUDING to attomeys in this action, attorneys in the
ECUADOR LITIGATION, Pablo Fajardo Mendoza, Servicios Fromboliere Compania Limitada,,
Luis Yanza, Julio Prieto Méndez, hiaix Pablo S4enz, Andrew Woods, Aaron Marr Page, Laura
Garr, Brian Parker, Joseph Kohn, Patricio Salazar Cotdova, Agustin Salazar, Serafin Angel Cajo,
and SELVA VIVA). Possession, custody, or CONTROL INCLUDES DOCUMENTS stored in
electroni¢ form by third-party serviceproviders but accessible to YOU or YOUR apetits,
attorneys, representatives, or others acting on YOUR behalf, INCLUDING email accounts, FTP
servers, instant messaging applications, texts, WhatsApp, portable storage media such as.USB
drives, cloud storage services such as Dropbox, iCloud, Geogle Drive, or QneDrive, and online.
workspaces such as WebEx.

3, Bach REQUEST herein constitutes a request for DOCUMENTS in their entirety,
with all enclosures and.attachments, and without abbreviation, redaction, or expurgation.
DOCUMENTS attached to each other, INCLUDING by staple, clip, tape, email attachment, or

“Post-It” note, shall not be separated, although any page of. which a Post-It note covers or
Case 1:11-cv-00691-LAK-RWL Document 2172 Filed 03/05/19 Page 33 of 49

obscures text on the DOCUMENT shall be produced both with and without the Post-It note: The
production must also INCLUDE, whete applicable, any index tabs, file dividers, designations,
binder spine labels, or other similar information as to-the source and/or location-of the
DOCUMENTS..

4, YOU shall produce any and all drafts and copies of cach DOCUMENT that are
responsive to any REQUEST, INCLUDING copies containing handwritten notes, markings,
stamps, or interlineations. The author(s) of all- handwritten notes shall be identified.

5. Responsive DOCUMENTS that exist only in paper form shall be organized as
they have been kept in the ordinary course of business,

6, If with respect to any REQUEST there are no responsive DOCUMENTS, so state
in writing,

7. Chevron willsmeet and confer with YOU to discuss the logistics of production,
but abserit an alternative agreement with Chevron, responsive DOCUMENTS shall be produced
in TIFF format with the accompanying text of the DOCUMENTS in a load file that also
INCLUDES the metadata, subject to the following:

a, responsive DOCUMENTS that cannot be produced in TIFF format due to
technical reasons shall be produced in 4 computer-readable and text searchable
format to be mutually determined by the partics;

b. Microsoft Excel files, PowerPoint files, and other responsive DOCUMENTS that.
can be meaningfully viewed only in their native electronic format shall be

produced in their native electronic format: and
Case 1:11-cv-00691-LAK-RWL Document 2172 Filed 03/05/19 Page 34 of 49

¢. to the extent data maintained in a database is responsive and not privileged or
otherwise subject to protection, the parties shall meet and. confer over the scope
and format of production.

8, YOU shall. produce the following metadata and production information associated
with responsive DOCUMENTS (INCLUDING Microsoft, Word DOCUMENTS that preserve
and reveal-any hidden notations, creation or alteration records) and make it reasonably accessible
to Chevron: BEG PROD NUM, END PROD NUM, BEGATTACH, ENDATTACH, FROM,
RECIPIENT, CC, BCC, DATE (sent date for email, cteate date for files), SUBJECT (subject
line for email, filename for file, title for hard copy), UNREAD (unread status of email messages)
DOCTYPE, FILENAME, ALL CUSTODIANS FILE PATHS, MD5 HASH, REVISION
(revision number of DOCUMENT), AUTHOR, MODIFY DATE, MODIFIED BY, TOTAL
EDIT TIME, LAST PRINTED, and ALL CUSTODIANS, This INCLUDES metadata that is
stored as-part of the responsive document, and metadata stored by the file system in which the
responsive DOCUMENT is stored. YOU shall preserve-all metadata associated with all
responsive DOCUMENTS, INCLUDING metadata that-is not-produced pursuant to this
instruction, and Chevron resetves the right to request the production of native copies of
responsive DOCUMENTS for which the produced metadata is incomplete to the extent native
copies are not alieady called for by these REQUESTS. This instruction shall be read in.
ancordance with thé requirements and limitations imposed by Rules 26(b) and 34 of the Federal
Rules of Civil Procedure. Chevron will meet and confer with YOU to discuss metadata and
expects to generally follow the guidance provided by the United States District Court for the
Souther District of New York in Nat'l Day Laborer Organizing Network v, U.S. Immigration

and Ciistoms Enforcement Agency, 2011 WI, 381625 (S.D,N.Y, Feb 7, 2011) (Scheindlia, J.).
Case 1:11-cv-00691-LAK-RWL Document 2172 Filed 03/05/19 Page 35 of 49

g. if YOU object to a portion or an aspect of a REQUEST, state the grounds for
YOUR objection with specificity and respond to the remainder of the REQUEST. If ‘any
DOCUMENTS, or portion thereof, are withheld bacausé YOU elaim-that gach information is
protected under the attorney-client privilege, work product doctrine, or other privilege or
doctrine, YOU are required to PROVIDE a privilege log, specifying for each such DOCUMENT
or withheld information: (1) the type of DOCUMENT, e.g., lotter or memorandum; (2) the
general subject matter of the DOCUMENT; (3) the date of the DOCUMENT; aid (4) the author
of the DOCUMENT, the addressees:of the DOCUMENT, and any other recipients, and, where
not apparent, the relationship of the author, addressees, and recipients to each other,

10. HF YOU claim thata portion of a DOCUMENT is protected from disclosure tor
any reason, produce such DOCUMENT with redaction of only the portion claimed to be
protected, Any DOCUMENT produced jn redacted form shall clearly indicate on its face that it
has been redacted,

Li. If YOU object-thata REQUEST is vague or ambiguous, identify the objectionable
aspect of the REQUEST, state YOUR interpretation of the REQUEST and tespond to that
interpretation.

12. Ifany DOCUMENT called for by the REQUESTS has been destroyed, lost,
discarded, or is otherwise no Jonger in your possession, custody, or CONTROL, identify such
DOCUMENT as completely as possible, and specify the date of disposal of the DOCUMENT,
the manner of disposal,.the reason for disposal, thie PERSON authorizing disposal, and the
PERSON disposing of the DOCUMENT.

13. Defined terms may be capitalized for the convenience ef the parties; the

definitions herein apply whether or not the term is capitalized.
Case 1:11-cv-00691-LAK-RWL Document 2172 Filed 03/05/19 Page 36 of 49

DEFINITIONS

I. The term “ACCOUNT” as-used herein means and INCLUDES savings.accounts,
checking accounts, money niarket accounts, brokerage accounts, certificates of deposit, lines of
credit, and any other credits or debits.

2. The term “ACCOUNTING” means.and refers to any record of financial
iriformation, This INCLUDES accountings, financial statements, bank statements, iedgers,
books, audits, registers, financial reconciliations, summaries of financial information, and reports
of financial information.

3, The term “ASSET” means any: tangible or intangible PROPERTY, INCLUDING
real PROPERTY, petsonal PROPERTY, intellectual PROPERTY, chattels, cash, securities,
derivative products, ACCOUNTS, debts, contract rights, security interests, claims, arid causes of
action, anywhere in the world,

4, The term “PROPERTY” means anything that may be the subject of
OWNERSHIP,

5. The terms “OWN* and “OWNERSHIP” mean owned directly ot-indireetly, in
whole or in part, as. sole owner or jointly with others, either of record or beneficially, including
without limitation as @ partner, general-or limited, limited liability memiber, fiduciary, and as an:
equity or debt holder, or.dernand deposit holder.

fi, The term “CONTROL” Gineclading, with correlative meanings, the terms
“controlled by”-and “under common control -with”), as used with respect to any PERSON or
ENTITY, shall mean the possession, directly-or indirectly, of the power to direct or cause the:
actions, ditection of the management, or policies of such PERSON or ENTITY, whether through

the OWNERSHIP of voting securities, by contract or otherwise.
Case 1:11-cv-00691-LAK-RWL Document 2172 Filed 03/05/19 Page 37 of 49

7 The terms “ENTITY” and “ENTITIES” shall INCLUDE all corporations,
‘associations, pattnerships, joint ventures, companies, funds, trusts, limited liability companies,
limited liability partnerships, any government or regulatory authority, and all other forms of.
incorporated and unincorporated organizations that are not natural persons.

8. The terms “INCLUDE” and “INCLUDING” mean including, but not limited to.
When the. word “INCLUDE” or “INCLUDING?” is followed by oné or more specific examples,
those examples are illustrative only and do not-limit in any way the information requested.

9, “AMAZONIA RECOVERY LIMITED” means and refers to Amazonia Recovery
Limited, an organization registered and/or incorporated-under the Companies Act of Gibraltar on
or around May 4, 2012, and any current and: former subsidiaries, affiliates, partners, officers,
directors, employees, representatives, agents, and any other PERSON acting, or purporting to
act, on their behalf, and any predecessors or successors of the foregoing and ariy parent,
subsidiary, division, or successor ENTITY.

10. “AMAZON DEFENSE FRONT” means and refers to-the Frente de Detensa de la
Amazonia a/k/a Amazon Defense Front and INCLUDES the Front’s officers, directors,
employees, partners, corporate parent, subsidiaries, or affiliates.

ll. “AMAZONIA RECOVERY: LIMITED STEBRING COMMITTEE” means and -
refers to the “advisory steering committee [fo Amazonia Recovery Limited] that will be
appointed by the Claimants to advise and assist the Claimants in respect of the Claim
(INCLUDING with respect to remediation efforts)” as defined in paragraph 95 of Amazonia
Recovery Limited's February 27, 2013 amended Memorandum of Association,

12, “ECUADOR ENFORCEMENT ACTIONS” means and refers to. any proceeding

seeking recognition and/or enforcement of the ECUADOR JUDGMENT anywhere in the world,
Case 1:11-cv-00691-LAK-RWL Document 2172 Filed 03/05/19 Page 38 of 49

13, “ECUADOR JUDGMENT TRUST” means-and refers to the trast discussed in the:
March 30 filing of Pablo Fajardo Mendoza to the Provincial Court of Justice of Sucumbids
régarding the “Commercial Trust for the Administration of Funds ADAT, granted by Maria
Vistoria Apuinda Salazar, Lidia Alexandra Avuinda A guinda, ef al., the AMAZON DEFENSE
FRONT and Compaiiia Fiduciaria Ecuador FIDUECUADOR §.A. finds and.trusts:
administrator” executed om March 1, 2012 by Dr. Sandra Veronica Barrazueta. Molina,

14. “ECUADOR JUDGMENT” means and refers to the judgment entered.in the
ECUADOR LITIGATION on February 14, 2011, as modified by subsequent proceedings.

15, ‘“BCUADOR LITIGATION” means and refers to the proceeding Maria Aguinda-y
Otros v. Chevran Corporation, in the Provincial Court of Justice of Sucumbios.in Ecuador, and
‘all appellate proceedings and subsequent proceedings stemming therefrom.

16, *“LAGO AGRIO PLAINTIFFS? means and refers to Defendants Alfredo Donaldo
Payaguaje Payaguaje; Angel Justino Pidaguajé Lucitante; Armando Wilfrido Piaguaje Payaguaje!
Beattiz Mercedes Grefa Tanguila; Benancio Freddy Chimbo Grefa; Bertha Antonia Yumbo
‘Tanguila: Carlos:Grega Huatatoca; Catalina Antonia Aguinda Salazar; Celia Irene Viveros
Cusangua; Clide Ramiro Aguinda Aguinda; Daniel Carlos Lusitande Yaiguajé; Delfin Leonidas
Payaguaje Payaguaje; Elias Roberto Piyahuaje Payatiuaje; Emilio Martin Lusitandé Yaiguaje;
Fermin Piagnaje Payaguaje; Francisco Alvarade Yumbo, Francisco Matias Alvarado Yumbo,
Francisco Victor Tanguila Grefa: Gloria Lucrecia Tanguila Grefa; Guillermo Vicente Payaguaje
Lusitante: Heleodoro Pataron Guaraca; Hugo Gerardo Camacho Naranjo; Javier Piaguaje
Payaguaje; José. Gabriel Revelo Liore; José Miguel Ipiales Chicaiza; Lidia Alexandra Aguinda
Aguinda; Lorenzo José Alvarado Yurnbo; Lourdes Beatriz Chimbo Tanguila; Lucio Enrique

Grefa Tanguila; Luis Agustin Payaguaje Piaguaje; Luis Armando Chimbo Yumbo; Luisa Delia

 
Case 1:11-cv-00691-LAK-RWL Document 2172 Filed 03/05/19 Page 39 of 49

Tan guil a Narvaez; Maria Aguirida Salazar; Maria Clelia Reascos Revelo; Maria Hortencia
Viveros Cusangua; Maria Magdalena Rodriguez Barcenes; Miguel Mario Payaguaje Payaguaje:
Narcisa Aida Tanguila Narvaez; Octavio Ismael Cérdova Huanca; Olga Gloria Grefa Cerda;
Patricia Alberto Chimbo Yumbo; Patricio Wuilson Aguinda Aguinda; Reinaldo Lusitande.
Yaiguaje; Rosa Teresa Chimbo Tanguila; Segundo Angel Amanta Milan; Simon Lusitande
Yaiguaje; and Teodoro Gonzalo Piaguaje Payaguaje.

17, “PERSON” means anid refers to any natural person or-any business, legal or
governmental ENTITY, or assoctation,

18. “REPUBLIC OF ECUADOR” means and refers to the governing political body in
Ecuador, INCLUDING all branches of government and political subdivisions, its current and
former presidents, attorneys general, judges, prosecutors, other officials, politicians, partners,
contractors, employees, representatives, agents, agencies, officers, attorneys, accountants,
assigns, or any other person acting, or purporting to act, on the REPUBLIC OF ECUADOR’s
behalf, either directly or indirectly, INCLUDING: Lenin Moreno; Rafael Correa; Martha
Escobar; Patricio Garcia; Alexis Mera; Alberto Acosta; Ana Alban; Galo Chiriboga; Rene
Vargas Pazos; Mauricio Montalvo Samaniego; Judge Alberto Guerra Bastidas; Judge Efrain
Novillo Guzman; Judge Germén Yanez Ricardo Ruiz; Judge Juan Evangelista Nufiez Sanabria;
Judge Leonardo Ordéfiez Pina; Judge Nicolés Augusto Zambrano Lozada; Judge Juan Carlos
Encarnacion Sanchez; Judge Cruz Maria Avila Del gado; Judge Marco Antonio Yaguache Mora;
Judge. Milton David Rafael Toral Zevallos; Judge Alejandro Kieber Orellana Pineda; Judge Lilia
Marlene Ortiz Vasquez; José Maria Borja; Washington Pesantez;, Cecilia Arinas Erazo. dé Tobar?

Jorge German; Diego Borja (former Economic Policy Minister); Esperanza Martinez; Diego

 

 
Case 1:11-cv-00691-LAK-RWL Document 2172 Filed 03/05/19 Page 40 of 49

Garefa Carrién: Alianza Pais; the National Intelligence Secretariat; and any current or former
official at the oftices of the Fiseal, Prosecutor General, or Attorney General,

19, “SELVA VIVA” teans and refers to- Defendant Selva Viva Selviva Cia: Ltda.,
and its officers, directors, eniployées, partners, corporate parent, subsidiaries, or affiliates:

20. “YOU” and “YOUR” mean and refer to Steven: Donziger, The Law Offices of
‘Steven R. Donziger, and Donziger & Associates, PLLC, and where applicable, their officers,

directors, employees, partners, corporate parent, subsidiaries, or affiliates.

DOCUMENTS REQUESTED

iF All DOCUMENTS evidencing or relating to. any domestic or foreign ASSET that
YOU OWN or CONTROL.

2. All DOCUMENTS evidencing or relating to any information concerning the
identity, location and/or value of YOUR domestic or foreign PROPERTY, domestic or foreign
income, and/or domestic or foreign ASSETS..

3, All DOCUMENTS evidencing or relating to YOUR OWNERSHIP or other
interest in, and value of, any domestic or foreign real estate:

4, All DOCUMENTS evidencing or relating fo any OWNERSHIP interest, direct or
beneficial, that YOU-have in-any real or personal PROPERTY, whether domestic or foreign,
INCLUDING cooperative corporation shares, automobiles; tracks, other motor vehicles, boats,
artwork, jewelry, aireraft, stocks, bonds, commtodities, securities, partnership interests, patents,
inventions, trade names, copyrights, royalty agreemerits, promissory notes, drafts or other
commercial paper, or causes of action,

5, All DOCUMENTS evidericing or relating 16 YOUR current OWNERSHIP of any

inherited: PROPERTY, INCLUDING those ASSETS YOU received or avé entitléd to future

40
Case 1:11-cv-00691-LAK-RWL Document 2172 Filed 03/05/19 Page 41 of 49

receipt of, from any estates ii which YOU may have or have had an interest,.as weli as the
current value of such PROPERTY.

6. All DOCUMENTS evidencing or relating to YOUR current OWNERSHIP
interest in any domestic or foreign ENTITIES or ACCOUNTS, as. well as the current value of
such PROPERTY and, if the PROPERTY was sold or transferred since the issuance of the
Court’s March 4, 2014 Judgment (Dkt. 1.875), as modified, the date of such transfer, the identity
of the purchaser, andthe value recetved for such transfer.

7, All originals or copies of all financial statements, checks (fonts and backs of all
checks) and/or wire transfers for bank, brokerage or trust ACCOUNTS, whether active or
inactive, open or closed, relating to YOUR ASSETS, dated on or after the issuance of the
Court’s March 4, 2014 Judgment (Dkt. 1875), as modified.

8. All DOCUMENTS evidencing or relating to any balance sheets, income
statements, inventories, profit and loss statements, and any other documents or informatien
showing YOUR ASSETS, PROPERTY, expenses, and/or liabilities, dated on or after the
issuance of the Court's March 4, 2014 Judgment (Dkt, 1875), as modified.

9. All DOCUMENTS evidencing or relating'to any claims, lawsuits, proceedings,
liens or demands that have been threatened and/or filed against YOU since the issuance of the
Court’s Match 4, 2014 Judgment (Dkt, 1875), as modified.

10. All DOCUMENTS evidencing or relating to any domestic or foreign savings.
ACCOUNTS, checking ACCOUNTS, money market ACCOUNTS, investmerit ACCOUNTS,
-certificates of deposit, or any other ACCOUNTS in which YOU have or have had an interest.

Since March 4, 2014, wherever found,

1]
Case 1:11-cv-00691-LAK-RWL Document 2172 Filed 03/05/19 Page 42 of 49

It, All) DOCUMENTS evidencing or relating to any means by which YOU, since
Mareh.4, 2014, have wansferred, paid, received, or conducted any financial transactions:or any
other transaction involving an exchange of value.

12, AI/DOCUMENTS evidencing or relating to any interest in aby ASSET that YOU
have.transferred, sold, assigned, pledged, gifted, encumbered, or otherwise dispased of since the
issuance of the Coart’s March 4, 2014 Judgment (Dkt.. 1875), as modified.

13, All! DOCUMENTS evidencing or felating to any debts or credits due, owing, or
which. will become due‘or owing to YOU, wherever found, including documents relating to any
terms-on which such debts may be, have been, are, or will be forgiven or not enforced.

14, ‘YOUR filed federal tax returns from 2014 until the present,

15. YOUR filed state tax returns from 2014 until the present.

16, All DOCUMENTS evidencing or relating to filed federal: corporate tax returns
from 2014 until the prosent that relate to YOUR ASSETS.

17. All DOCUMENTS evidencing or relating to filed-state corporate tax returns from
2014. until the present that relate io YOUR ASSETS.

18. Al DOCUMENTS evidencing or relating‘to any financing provided to YOU,
INCLUDING al! promissory notés, security agreements, and UCC-1 financing statements: This
REQUEST INCLUDES documents sufficient ta show the original amount of the financing, the
PERSON or ENTITY to whom due, balance owing, payments, maturity and collateral, and any
other DOCUMENTS relating to any such debt,

19. All DOCUMENTS evidencing or relating to all PROPERTY, whether personal or
real, tangible or intangible, vested or contitigent that YOU have received, or hereafter may

receive, directly or indirectly, or to which YOU have or hereafter obtain any tight, title or

12.
Case 1:11-cv-00691-LAK-RWL Document 2172 Filed 03/05/19 Page 43 of 49

interest, directly or indirectly, that is traceable to the ECUADOR JUDGMENT or the
enforcement of the ECUADOR JUDGMENT anywhere ‘in the world.

20. All DOCUMENTS evidencing or relating to any acts taken by YOU or the LAGO
AGRIO PLAINTIFFS fo monetize or profit from the ECUADOR JUDGMENT since March 4,
2014, INCLUDING by selling, assigning, pledging, promising, transferring, borrowing against,
or encumbering any interest therein.

21. All| DOCUMENTS evidencing or relating to any communication between YOU
and any PERSON or ENTITY since. March 4, 2014 conceming the ECUADOR JUDGMENT or
any attempts by anyone, successful Or not, to-monetize or profit from it.

22. All DOCUMENTS evidencing or relating to. any PERSON or ENTITY who
‘financially supported or invested in, was asked to financially.support or invest in, or who.offered
to financially support or invest in.any aspect of the ECUADOR JUDGMENT or the enforcement
thereof.

23.. All DOCUMENTS telated to the ECUADOR JUDGMENT TRUST,

24, All DOCUMENTS related to AMAZONIA RECOVERY LIMITED,
INCLUDING:

a. All DOCUMENTS usiiig or discussing the creation of any code natnes, alternate
Hames, pseudonyms, nicknames or other naming conventions (“alternate narnes”),
other than the legal name for AMAZONIA RECOVERY LIMITED;

b. All DOCUMENTS related to the appointiient of any PERSON, INCLUDING
Julian Jarvis, Ermel Gabriel Chavez Parta, Luis Francisco Yanza Angamarca, and
Pablo Fajardo Mendoza to the board of directors of AMAZONIA RECOVERY

LIMITED;

13
Case 1:11-cv-00691-LAK-RWL Document 2172 Filed 03/05/19 Page 44 of 49

c. AILDOCUMENTS rélated to the membership, responsibilities and operations of
the AMAZONIA RECOVERY LIMITED STEERING COMMITTEE;

d. All ACCOUNTINGS related to AMAZONIA RECOVERY LIMITED;

e. All DOCUMENTS telated to any shares, rights, title, or interest in AMAZONIA
RECOVERY LIMITED held directly or indirectly by YOU at any time;

f. All DOCUMENTS related to GT Nominees Limited, Torvia Limited, or any other
shareholder in AMAZONIA RECOVERY LIMITED:

g, AIL DOCUMENTS related to the true beneficial OWNERS of the shares of
AMAZONIA RECOVERY LIMITED:

h. AIKDOCUMENTS, INCLUDING ACCOUNT opening documents and periodic
statements, related to-all savings, checking, money market, brokerage or any other
credit or debit ACCOUNTS belonging to AMAZONIA RECOVERY LIMITED,
operated by AMAZONIA RECOVERY LIMITED, CONTROLLED by
AMAZONIA RECOVERY LIMITED ar for which AMAZONIA RECOVERY
LIMITED is a signatory; and

i, AIL DOCUMENTS ¢elated to any PERSON or ENTITY, who financially
gupported of invested in, was asked to financially support or invest.in, or who
offered to financially support or invest. in AMAZONIA RECOVERY LIMITED.

25. All DOCUMENTS evidencing or relating.to any past or present trust, corporation,
or other ENTITY created to hold, distribute, administer, or otherwise affect any proceeds of the
ECUADOR JUDGMENT.

26, AIL DOCUMENTS evidericing or relating to any payment, proceeds,

compensation, revenue, or any other thing of value YOU have received, contracted to receive, or

14
Case 1:11-cv-00691-LAK-RWL Document 2172 Filed 03/05/19 Page 45 of 49

have been promised related to any aspect of YOUR involvement in the ECUADOR
LITIGATION, ECUADOR JUDGMENT, and/or ECUADOR ENFORCEMENT ACTIONS.

27. All DOCUMENTS evidencing or relating to any attempted or completed sale or
transfer of any license, copyright, life rights, trademark, media rights, or other right to exploit,
market or publicize any aspect of the ECUADOR LITIGATION, the ECUADOR JUDGMENT,
and/or the ECUADOR ENFORCEMENT ACTIONS, and YOUR involvement or the.
involvement of any other PERSON or ENTITY therein,

28, All DOCUMENTS evidencing or relating to atiy actual, contemplated,
anticipated, or potential movie, documentary, book, television program, podcast, or other media
project relating in any way to the ECUADOR LITIGATION, the ECUADOR JUDGMENT, or
the ECUADOR ENFORCEMENT ACTIONS, INCLUDING YOUR role and any value YOU
might receive in connection therewith.

29. All DOCUMENTS evidencing or relating to.any payment, compensation,
revenue, or any other thing of value YOU have délivered, contracted to deliver, or have promised
to any PERSON or ENTITY from any proceeds that may be reccived from the ECUADOR
JUDGMENT or the ECUADOR ENFORCEMENT ACTIONS.

30. All DOCUMENTS evidencing or gelating to any attempted or completed sale,
assignment, of transfer of rights, title, claims, or interest of any proceeds or other interest held by
ENFORCEMENT ACTIONS, whether or riot such attempt was successful,

31.. Al] DOCUMENTS evidencing or relating to anny distribution of the proceeds from

enforcement of the ECUADOR JUDGMENT.

13 -
Case 1:11-cv-00691-LAK-RWL Document 2172 Filed 03/05/19 Page 46 of 49

32.  AILDOCUMENTS evidencing or relating to any dispute concerning or relating to
any monies raised in connection with the ECUADOR LITIGATION, the ECUADOR
JUDGMENT, the ECUADOR ENFORCEMENT ACTIONS, and/or the ECUADOR
JUDGMENT TRUST, INCLUDING any dispute regarding the beneficiary or beneficiaries of the
ECUADOR JUDGMENT and ECUADOR JUDGMENT TRUST.

33. AIT DOCUMENTS evidencing or relating to funding commitments in support of
the ECUADOR LITIGATION or ECUADOR ENFORCEMENT ACTIONS from any PERSON
or ENTITY, INCLUDING from the following:

a, Kobn Swift & Graf, P.C..
b. Russell DeLeon

¢ Orin Kramer

d. Torvia Limited

¢. Burford

f 88 Capital

Equitable Outcomes

Ft

Jonaks Limited.

Satee GMBH

oil

j. David Sherman UI

k. Glenn Kreviin

lL. Michael Donziger

m. Russell O. Wiese

n. TC Payment Services International

a, AMAZONIA RECOVERY LIMITED

16
Case 1:11-cv-00691-LAK-RWL Document 2172 Filed 03/05/19 Page 47 of 49

p. Woodsford Litigation Funding Limited
34, All DOCUMENTS evidencing or relating to how monies (totaling $32,360,647)
shown in the below chart as “commitments” from investors in the ECUADOR LITIGATION
were expended, the identification of any ACCOUNTS into which any portion of said monies

were deposited, or any specific amounts received or expended by YOU at any time:

 

 

 

Kohn Swift & Graf] Po. os a . $ 6,360,647 $6,360,647
Russell DeLeon. $1,500,000 $2,000,000
Drin-K mor oo $ 150,000 $ 160,000
Torvia mied ee $3,413,367 $7,250,000
Burford $ 4,000,008 $15,000,000
es Capital. ee $250,000
Equitable: Outcomes $ 156,000
donaksUmited $200,000
SateeGMBH $ 300,000

_ David Sherman ut oe $250.00

. Glenn Kreviin segunhpeangyn $2000

$ 150,000

   

 

 

 

Plaintiffs Extvtst 2143p. tot 4
__ Piaintd's Exhibit 42000 p. 14 of dd

35, All DOCUMENTS evidencing or relating to any ACCOUNTINGS, reports,
summaries, analyses, statements, ledgers, or any other kind of record relating to how funds
réceived in support of the ECUADOR LITIGATION, BCUADOR JUDGMENT, and/or

ECUADOR ENFORCEMENT ACTIONS have been received or expended, INCLUDING

17
Case 1:11-cv-00691-LAK-RWL Document 2172 Filed 03/05/19 Page 48 of 49

anything prepared in response to:a demand by the Union of People Affected by Texaco (aka
UDAPT) and their agents and representatives.

36. All DOCUMENTS evidencing or relating to any and all ASSETS, beuefits,
payments, or things of value that have.beén or will-be conferred, offered, or promised to YOU or
any agent, attorney, or Tepresentative of YOU or the LAGO AGRIO PLAINTIFFS
(INCLUDING attomeys in this action, attorneys in the ECUADOR LITIGATION, Pablo
Fajardo Mendoza, Servicios Fromboliere ‘Compania Limitada, Lis. Yanza, Julio Prieto Méndez,
Juan Pablo Sdenz, Andrew Woods, Aaron Marr Page, Laura Garr, Brian Parker, Joseph Kohn,
Patricio Salazar Cordova, Agustin Salazar, Serafin Angel Cajo, and SELVA VIVA), by the
REPUBLIC OF ECUADOR, INCLUDING the date, description, medium and purpose-of such
benefits, payments, or things of value and the identification of all PERSONS and/or ENTITIES.
involved in, and documents concerning such ASSETS, benefits, payments, or things of value.

37, All DOCUMENTS evidencing orrelating to the current ASSETS or liabilities of
the AMAZON DEFENSE FRONT.

38, _ All DOCUMENTS evidencing ot relating to YOUR current OWNERSHIP
interest in AMAZONIA RECOVERY LIMITED.

Dated: April 16, 2018

New-York, New York . GIBSON, DUNN & CRUTCHER LLP

Jey

( &

By:

 
 

Randy M, Masire

Andrea E, Neuman

200 Park Avenue, 47th Floor
New York, New York 10166-0193
Telephone: 212.351.4000
Facsimile: 212.351.4035

William E. Thomson

18
Case 1:11-cv-00691-LAK-RWL Document 2172 Filed 03/05/19 Page 49 of 49

333 South Grand Avenue:
Los Angeles, California 90071
Telephone: 213.229,7891
Facsimile: 213.229.6891

STERN, KILCULLEN & RUFOLO LLC
Herbert J. Stern

Joel M. Silverstein

325 Columbia Tpke, Ste 110

P.O, Box 992

Florham Park, New Jersey 07932-0992
‘Telephone: 973,535, L900

Facsimile: 973.535,9664

Attorneys for Chevron Corporation

[9

 
